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UNITED STATES DISTRICT COURT . l 0 7 CV 1 0 4 6 4

SOUTHERN DISTRICT OF NEW YORK

 

X Case No.
MARILYN CLARK, Derivatively on Behalf of .
AMERICAN INTERNATIONAL GROUP, lNC.,:

Plaintiff,

 

vs. : VERIFIED SHAREHOLDER DERIVATIVE

: COMPLAINT FOR BREACH OF

MARTIN J. SULLIVAN, EDMUND S.W. TSE, : FIDUCIARY DUTY, WASTE OF

WIN J. NEUGER, FRANK G. WISNER, BRIAN: CORPORATE ASSETS, UNJUST

T. SCHRE[BER, STEVEN J. BENS]NGER, : ENRICHMENT AND VIOLATIONS OF

WILLIAM N. DOOLEY, FREDERICK W. ' THE SECURITIES EXCHANGE ACT OF

GEISSINGER, ELIAS F. HABAYEB, ROBERT: 1934

E. LEWIS, MARSHALL A. COHEN, MARTIN:

D. FELDSTE]N, ELLEN V. FUTTER,

RICHARD C. HOLBROOKE, FRANK G.

ZARB, STEPHEN L. HAMMERMAN,

GEORGE L. MILES, JR., MORRIS W. OFFIT,

MICHAEL H. SUTTON, FRED H.

LANGHAMMER, JAMES F. ORR, III,

V[RGINIA M. ROMETTY and ROBERT B.

WILLUMSTAD,

Defendants,
_and-

AMERICAN INTERNATIONAL GROUP, INC.,§
a Delaware corporation,

Nominal Defendant.

 

'X DEMAND FOR IURY TRIAL

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Plaintiff, by her attorneys, submits this Verifled Shareholder Derivative Complaint against

the defendants named herein.

NATURE AND SUMMARY OF THE ACTION

l. This is a shareholder derivative action brought by a shareholder of American
lntemational Group, Inc. ("AIG" or the "Company") on behalf of the Company against certain of its
officers and directors seeking to remedy defendants' violations of state and federal law, including
breaches of fiduciary duties, waste of corporate assets, unjust enrichment and violations of the
Securities Exchange Act of 1934 (the "Exchange Act") that occurred between May 2006 and the
present (the "Relevant Period") and that have caused substantial monetary losses to AIG and other
damages, such as to its reputation and goodwill.

2. AIG provides a wide range of financial and insurance services. During the Relevant
Period, AlG's business prospects suffered due to the Company's exposure to the subprime mortgage
crisis, Nevertheless, AIG, under defendants' direction, improperly concealed the true extent of that
exposure. ln fact, throughout the Relevant Period, defendants claimed that AlG's portfolio was so
sufficiently diversified that the mortgage market would have to reach “Depression proportions" `
before it negatively impacted the Company. Defendants also claimed that AlG's improved "linancial
control environment" would provide " greater transparency" in the Company's financial disclosures.

3. AIG was not as invulnerable as defendants claimed, however. Indeed, on November
7, 2007, AIG announced that its third fiscal quarter 2007 earnings were 27% lower than what the
Company had earned in the prior year. These disappointing results were driven by approximately
$1.4 billion in losses in AlG's investment portfolios and mortgage insurance business.

4. While defendants were directing AIG to issue improper statements concerning its
exposure to the subprime market crisis, they were also directing AIG to repurchase over $3 .7 billion
worth of its own shares at artificially inflated prices. Even worse, certain of the defendants sold their

personally held shares while in possession of material non-public information for over $6 million in

proceeds.

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5. Currently, AIG's credibility with investors is in shambles. During the Relevant
Period, the Company's value has declined from over $72 per share to less than $60 per share_a $30

billion market capitalization loss.

JURISDICTION AND VENUE

6. This Court has jurisdiction in this case arising under Article l]l of the United States
Constitution and 28 U.S.C. §1331 because of claims arising under the Exchange Act. This Court
also has supplemental jurisdiction pursuant to 28 U.S.C. §l367(a) over all other claims that are so
related to claims in the action within such original jurisdiction that they form part of the same case or
controversy under Article l]] of the United States Constitution. This Court also has jurisdiction over
all claims asserted herein pursuant to 28 U.S.C. §l332(a)(2) because complete diversity exists
between the plaintiff and each defendant, and the amount in controversy exceeds $75,000. This
action is not a collusive action designed to confer jurisdiction on a court of the United States that it
would not otherwise have.

7. This Court has jurisdiction over each defendant named herein because each defendant
is either a corporation that conducts business in and maintains operations in this District, or is an
individual who has sufficient minimum contacts with this District so as to render the exercise of
jurisdiction by the District courts permissible under traditional notions of fair play and substantial
justice.

8. Venue is proper in this Court pursuant to 28 U.S.C. §l39l(a) because: (i) AIG
maintains its principal place of business in the District; (ii) one or more of the defendants either
resides in or maintains executive offices in this District; (iii) a substantial portion of the transactions
and wrongs complained of herein, including the defendants' primary participation in the wrongful
acts detailed herein, and aiding and abetting and conspiracy in violation of fiduciary duties owed to
AIG occurred in this District; and (iv) defendants have received substantial compensation in this

District by doing business here and engaging in numerous activities that had an effect in this District.

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'THE PARTIES

9. Plaintiff Marilyn Clark is and was, at times relevant hereto, an owner and holder of
AIG common stock. Plaintiff is a citizen of California.

10. Nominal defendant AIG is a Delaware corporation with its principal executive offices
located at 70 Pine Street, New York, New York. AIG provides a wide range of insurance and
financial services.

11. Defendant Martin J. Sullivan ("Sullivan") is AIG's President and Chief Executive
Officer ("CEO") and has been since 2005. Sullivan is also an AIG director and has been since 2002.
Sullivan was AIG's Vice Chairman and Co-Chief Operating Officer from 2002 to 2005; and
Executive Vice President, Foreign General lnsurance from 1998 to 2002. From 1971 to 2002,
Sullivan held various positions with AIG. Because of his positions, defendant Sullivan knew,
consciously disregarded, was reckless and grossly negligent in not knowing and should have known
the adverse non-public information about the business of AIG. During the Relevant Period, Sullivan
participated in the issuance of improper statements, including the preparation of the improper press
releases and Securities and Exchange Commission ("SEC") filings and approval of other statements
made to the press, securities analysts and AIG shareholders Defendant Sullivan received the

following compensation:

Changes in
Pension Va|ue
and
Nonqua|ified
Restricted Non-Equity Deferred

Fisca| Stock Option |ncentive Plan Compensation AllOther
Year Sa|ary Bonus Awards Awards Compensation Earnings Compensation
2006 $1,000,000 $10,125,000 $1.370,657 $1,916,232 $5,838,656 $275,701 $703,432

Defendant Sullivan is a citizen of New Jersey.

12. Defendant Edmund S.W. Tse ("Tse") is AIG's Senior Vice Chairman-Life lnsurance
and has been since 2001. Tse is also an AIG director and has been since 1996 and is Chairman of
American lnternational Assurance Company, Ltd. Tse was AIG's Co-Chief Operating Officer in
2002; Vice Chairman, Life lnsurance from 1997 to 2001; and from 1961 to 1996, Tse held various

positions with AIG. Because of his positions, defendant Tse knew, consciously disregarded, was
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reckless and grossly negligent in not knowing and should have known the adverse non-public
information about the business of AIG. During the Relevant Period, Tse participated in the issuance
of improper statements, including the preparation of the improper press releases and SEC filings and

approval of other statements made to the press, securities analysts and AIG shareholders Defendant

Tse received the following compensation:

Restricted Non-Equity
Fisca| Stock Option lncentive Plan Al| Other
Year Sa|ary Bonus Awards Awards Compensation Compensation
2006 $849,729 $1,838,455 $3,729,295 $3,354,527 $5,860,619 $193,060

Defendant Tse is a citizen of New York.

13. Defendant Win J. Neuger ("Neuger") is AIG's Executive Vice President and has been
since May 2002. Neuger is also AIG's Chief Investment Officer and has been since 1995. Neuger
was AIG's Senior Vice President from 1995 to May 2002. Because of his positions, defendant
Neuger knew, consciously disregarded, was reckless and grossly negligent in not knowing and
should have known the adverse non-public information about the business of AIG. During the
Relevant Period, Neuger participated in the issuance of improper statements, including the
preparation of the improper press releases and SEC filings and approval of other statements made to

the press, securities analysts and AIG shareholders Defendant Neuger received the following

compensation:

Changes in

Pension Va|ue

and
Nonqua|ified
Restricted Non-Equity Deferred

Fisca| Stock Option lncentive Plan Compensation AllOther
Year Sa|ary Bonus Awards Awards Compensation Earnings Compensation
2006 $942,000 $1,613,000 $1,499,042 $1.519,196 $2,930,309 $252,127 $33,070

Defendant Neuger sold 59,492 shares of AIG stock for $4,186,906.71 in proceeds while in
possession of material non-public information Defendant Neuger is a citizen of New York.

14. Defendant Frank G. Wisner ("Wisner") is AIG's Vice Chairman - Extemal Affairs
and has been since 1997 . Because of his positions, defendant Wisner knew, consciously disregarded,

was reckless and grossly negligent in not knowing and should have known the adverse non-public

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information about the business of AIG. During the Relevant Period, Wisner participated in the
issuance of improper statements, including the preparation of the improper press releases and SEC
filings and approval of other statements made to the press, securities analysts and AIG shareholders
Defendant Wisner sold 16,874 shares of AIG stock for $1,222,183.82 in proceeds while in
possession of material non-public information. Defendant Wisner is a citizen of New York.

15. Defendant Brian T. Schreiber ("Schreiber") is AIG's Senior Vice President - Strategic
Planning and has been since May 2003. Schreiber was AIG's Vice President - Strategic Planning
from 2002 to May 2003. From 1997 to 2002, Schreiber held various positions with AIG, including
Portf`olio Manager of AIG's Global Investment Group and Managing Director of the Global
Investment Group Corporate Acquisitions and lnvestments Group. During the Relevant Period,
AIG's investment and credit swap portfolios lost over $l .2 billion in value because of` the Company's
investment in mortgage backed securities Because of his positions, defendant Schreiber knew,
consciously disregarded, was reckless and grossly negligent in not knowing and should have known
the adverse non-public information about the business of` AIG. During the Relevant Period,
Schreiber participated in the issuance of improper statements, including the preparation of the
improper press releases and SEC filings and approval of other statements made to the press,
securities analysts and AIG shareholders Defendant Schreiber sold 3,5 00 shares of AIG stock for
$243,075 in proceeds while in possession of material non-public information. Defendant Schreiber
is a citizen of`New York.

16. Defendant Steven J. Bensinger ("Bensinger") is AIG's Executive Vice President and
ChiefFinancial Officer ("CFO") and has been since March 2005. Bensinger was AIG's Senior Vice
President from January 2005 to March 2005; Comptroller in 2005; and Treasurer from 2002 tO 2005.
Because of his positions, defendant Bensinger knew, consciously disregarded, was reckless and
grossly negligent in not knowing and should have known the adverse non-public information about
the business of AIG. During the Relevant Period, Bensinger participated in the issuance of improper

statements, including the preparation of the improper press releases and SEC filings and approval of

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other statements made to the press, securities analysts and AIG shareholders Defendant Bensinger

received the following compensation:

Changes in
Pension Va|ue
and
Nonqua|ified
Restricted Non-Equity Deferred
Fiscal Stock Option lncentive Plan Compensation AllOther
Year Sa|ary Bonus Awards Awards Compensation Earnings Compensation
2006 $750,000 $3,250,000 $757,690 $617,358 $2,093,078 $108,143 $18,323

Defendants Bensinger is a citizen of` New York.

17 . Defendant William N. Dooley ("Dooley") is AIG's Senior Vice President - Financial
Services and has been since June 1998. Dooley is also a member of AIG's Fund Management Team.
Dooley was AIG's Vice President from 1996 to June 1998 and Treasurer from 1992 to June 1998.
During the Relevant Period, AIG's investment and credit swap portfolios lost over $1.2 billion in
value because of the Comp any's investment in mortgage backed securities Because of his positions,
defendant Dooley knew, consciously disregarded, was reckless and grossly negligent in not knowing
and should have known the adverse non-public information about the business of AIG. During the
Relevant Period, Dooley participated in the issuance of improper statements including the
preparation of the improper press releases and SEC filings and approval of other statements made to
the press, securities analysts and AIG shareholders Defendant Dooley is a citizen of New Jersey.

18. Defendant Frederick W. Geissinger ("Geissinger") is CEO and Chairman of American
General Finance and has been since September 2001. American General Finance is a wholly owned
subsidiary of AIG. During the Relevant Period, AIG's investment and credit swap portfolios lost
over $1.2 billion in value because of the Company's investment in mortgage backed securities
Because of his positions, defendant Geissinger knew, consciously disregarded, was reckless and
grossly negligent in not knowing and should have known the adverse non-public information about
the business of AIG. During the Relevant Period, Geissinger participated in the issuance of improper
statements, including the preparation of the improper press releases and SEC filings and approval of

other statements made to the press, securities analysts and AIG shareholders Defendant Geissinger

is a citizen of Indiana.

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19. Defendant Elias F. Habayeb ("Habayeb") is CFO of AIG's Financial Services Group
and has been since September 2005. During the Relevant Period, AIG's investment and credit swap
portfolios lost over $1.2 billion in value because of the Company's investment in mortgage backed
securities Because of his positions, defendant Habayeb knew, consciously disregarded, was reckless
and grossly negligent in not knowing and should have known the adverse non-public information
about the business of AIG. During the Relevant Period, Habayeb participated in the issuance of
improper statements, including the preparation of the improper press releases and SEC filings and
approval of other statements made to the press, securities analysts and AIG shareholders Defendant
Habayeb is a citizen of New Jersey.

20. Defendant Robert E. Lewis ("Lewis") is AIG's ChiefRisk Officer and has been since
at least 2005. Lewis is also AIG's Senior Vice President and has been since May 2003. Lewis was
AIG's ChiefCredit Officer from 1993 to about 2005 and Vice President 1993 to May 2003. Because
of his positions, defendant Lewis knew, consciously disregarded, was reckless and grossly negligent
in not knowing and should have known the adverse non-public information about the business of
AIG. During the Relevant Period, Lewis participated in the issuance of` improper statements,
including the preparation of` the improper press releases and SEC filings and approval of other
statements made to the press, securities analysts and AIG shareholders Defendant Lewis is a citizen
of New York.

21 . Defendant Marshall A. Cohen ("Cohen") is an AIG director and has been since 1992.
Cohen is a member of AIG's Compensation and Management Resources Committee and has been
since at least 1994 and is Chairman of the Compensation and Management Resources Committee
and has been since 2004. Because of his positions, defendant Cohen knew, consciously disregarded,
was reckless and grossly negligent in not knowing and should have known the adverse non-public
information about the business of AIG. During the Relevant Period, Cohen participated in the
issuance of improper statements, including the preparation of the improper press releases and SEC

filings and approval of other statements made to the press, securities analysts and AIG shareholders

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Defendant Cohen sold 10,093 shares of AIG stock for $71 1,556.50 in proceeds while in possession
of material non-public infonnation. Defendant Cohen is a citizen of Florida.

22. Defendant Martin D. Feldstein ("Feldstein") is an AIG director and has been since
1987. Feldstein was a member of AIG's Compensation and Management Resources Committee in
2006. Because of his positions, defendant Feldstein knew, consciously disregarded, was reckless and
grossly negligent in not knowing and should have known the adverse non-public information about
the business of AIG. During the Relevant Period, Feldstein participated in the issuance of improper
statements, including the preparation of the improper press releases and SEC filings and approval of
other statements made to the press, securities analysts and AIG shareholders Defendant Feldstein is
a citizen of Massachusetts.

23. Defendant Ellen V. Futter ("Futter") is an AIG director and has been since 1999.
Futter was a member of the Compensation and Management Resources Committee from 2000 to
September 2002. Because of her positions, defendant Futter knew, consciously disregarded, was
reckless and grossly negligent in not knowing and should have known the adverse non-public
information about the business of AIG. During the Relevant Period, Futter participated in the
issuance of improper statements, including the preparation of the improper press releases and SEC
filings and approval of other statements made to the press, securities analysts and AIG shareholders
Defendant Futter is a citizen of New York.

24. Defendant Richard C. Holbrooke ("Holbrooke") is an AIG director and has been since
2001 . Holbrooke was a member of the Compensation and Management Resources Committee from
2001 to 2005. Because of his positions, defendant Holbrooke knew, consciously disregarded, was
reckless and grossly negligent in not knowing and should have known the adverse non-public
information about the business of AIG. During the Relevant Period, Holbrooke participated in the
issuance of improper statements including the preparation of the improper press releases and SEC
filings and approval of other statements made to the press, securities analysts and AIG shareholders

Defendant Holbrooke is a citizen of New York.

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25. Defendant Frank G. Zarb ("Zarb") is an AIG director and has been since 2001. Zarb
was the Interim Chairman of the Board from April 2005 to October 2006. Zarb was a member of the
Audit Committee from 2001 to 2005. He currently serves as a non-voting member of all of AIG's
committees Because of his positions, defendant Zarb knew, consciously disregarded, was reckless
and grossly negligent in not knowing and should have lmown the adverse non-public information
about the business of AIG. During the Relevant Period, Zarb participated in the issuance of
improper statements, including the preparation of the improper press releases and SEC filings and
approval of other statements made to the press, securities analysts and AIG shareholders Defendant
Zarb is a citizen of New York.

26. Defendant Stephen L. Hammerman ("Hammerman") is an AIG director and has been
since 2005. Because of his position, defendant Hammerman knew, consciously disregarded, was
reckless and grossly negligent in not knowing and should have known the adverse non-public
information about the business of AIG. During the Relevant Period, Hammerman participated in the
issuance of improper statements, including the preparation of the improper press releases and SEC
filings and approval of other statements made to the press, securities analysts and AIG shareholders
Defendant Hammerman is a citizen of New York.

27. Defendant George L. Miles, Jr. ("Miles") is an AIG director and has been since 2005.
Miles is a member of the Audit Committee and has been since 2005. Because of his positions,
defendant Miles lmew, consciously di sregarded, was reckless and grossly negligent in not knowing
and should have lmown the adverse non-public information about the business of AIG. During the
Relevant Period, Miles participated in the issuance of improper statements, including the preparation
of the improper press releases and SEC filings and approval of other statements made to the press,
securities analysts and AIG shareholders Defendant Miles is a citizen of Pennsylvania.

28. Defendant Mon'is W. Offit ("Offit") is an AIG director and has been since 2005. Offit

is a member of the Audit Committee and has been since 2005. Offit was Chairman of the Audit
Committee from August 2005 to October 2006. Because of his positions, defendant Offit knew,

consciously disregarded, was reckless and grossly negligent in not knowing and should have lmown

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the adverse non-public information about the business of AIG. During the Relevant Period, Offit
participated in the issuance of improper statements, including the preparation of the improper press
releases and SEC filings and approval of other statements made to the press, securities analysts and
AIG shareholders Defendant Offit is a citizen of New York.

29. Defendant Michael H. Sutton ("Sutton") is an AIG director and has been since 2005.
Sutton is Chairman of the Audit Committee and has been since November 2006 and a member of the
Audit Committee and has been since October 2005. Because of his positions, defendant Sutton
knew, consciously disregarded, was reckless and grossly negligent in not knowing and should have
known the adverse non-public information about the business of AIG. During the Relevant Period,
Sutton participated in the issuance of improper statements, including the preparation of the improper
press releases and SEC filings and approval of other statements made to the press, securities analysts
and AIG shareholders Defendant Sutton is a citizen of Virginia.

30. Defendant Fred H. Langhammer ("Langhammer") is an AIG director and has been
since 2006. Langhammer is a member of the Compensation and Management Resources Committee
and has been since May 2006. Because of his positions, defendant Langhammer knew, consciously
disregarded, was reckless and grossly negligent in not knowing and should have known the adverse
non-public information about the business of AIG. During the Relevant Period, Langhammer
participated in the issuance of improper statements, including the preparation of the improper press
releases and SEC filings and approval of other statements made to the press, securities analysts and
AIG shareholders Defendant Langhammer is a citizen of Connecticut.

31. Defendant J ames F. Orr, IH ("Orr") is an AIG director and has been since 2006. Orr is
a member of the Compensation and Management Resources Committee and has been since 2006.
Because of his positions, defendant Orr knew, consciously disregarded, was reckless and grossly
negligent in not knowing and should have known the adverse non-public information about the
business of AIG. During the Relevant Period, Orr participated in the issuance of improper

statements, including the preparation of the improper press releases and SEC filings and approval of

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other statements made to the press, securities analysts and AIG shareholders Defendant Orr is a
citizen of Florida.

32. Defendant Virginia M. Rometty ("Rometty") is an AIG director and has been since
September 2006. Rometty is a member of AIG's Compensation and Management Resources
Committee and has been since January 2007 . Because of her positions, defendant Rometty knew,
consciously disregarded, was reckless and grossly negligent in not knowing and should have known
the adverse non-public information about the business of AIG. During the Relevant Period, Rometty
participated in the issuance of improper statements, including the preparation of the improper press
releases and SEC filings and approval of other statements made to the press, securities analysts and
AIG shareholders Defendant Rometty is a citizen of Florida.

33. Defendant Robert B. Willumstad ("Willumstad") is AIG's Chairman of the Board and
has been since November 2006 and a director and has been since January 2006. Willumstad is an ex
ojicz'o member of all of AIG's committees and has been since November 2006. Because of his
positions, defendant Willumstad knew, consciously disregarded, was reckless and grossly negligent
in not knowing and should have known the adverse non-public information about the business of
AIG. During the Relevant Period, Willumstad participated in the issuance of improper statements,
including the preparation of the improper press releases and SEC filings and approval of other
statements made to the press, securities analysts and AIG shareholders Defendant Willumstad is a
citizen of New York.

34. The defendants identified in 111111-12, 21-33 are referred to herein as the "Director
Defendants." The defendants identified in 1111 1-20 are referred to herein as the "Officer
Defendants." The defendants identified in 1111 13-1 5, 21 are referred to herein as the "Insider Selling
Defendants." Collectively, the Director Defendants, the Officer Defendants and the Insider Selling
Defendants are referred to herein as the "Individual Defendants."

DUTIES OF THE INDIVIDUAL DEFENDANTS
35. By reason of their positions as officers, directors and/or fiduciaries of AIG and

because of their ability to control the business and corporate affairs of AIG, the Individual

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Defendants owed AIG and its shareholders fiduciary obligations of trust, loyalty, good faith and due
care, and were and are required to use their utmost ability to control and manage AIG in a fair, just,
honest and equitable manner. The Individual Defendants were and are required to act in iiirtherance
of the best interests of AIG and its shareholders so as to benefit all shareholders equally and not in
fithherance of their personal interest or benefit.

36. Each director and officer of the Company owes to AIG and its shareholders the
fiduciary duty to exercise good faith and diligence in the administration of the affairs of the
Company and in the use and preservation of its property and assets, and the highest obligations of
fair dealing. In addition, as officers and/or directors of a publicly held company, the Individual
Defendants had a duty to promptly disseminate accurate and truthful information with regard to the
Company's revenue, margins, operations, performance, management, projections and forecasts so
that the market price of the Company's stock would be based on truthful and accurate information

37. The Individual Defendants, because of their positions of control and authority as
directors and/or officers of AIG, were able to and did, directly and/or indirectly, exercise control over
the wrongful acts complained of herein, as well as the contents of the various public statements
issued by the Company. Because of their advisory, executive, managerial and directorial positions
with AIG, each of the Individual Defendants had access to adverse non-public information about the
financial condition, operations, and improper representations of AIG.

38. At all times relevant hereto, each of the Individual Defendants was the agent of each
of the other Individual Defendants and of AIG, and was at all times acting within the course and
scope of such agency.

39. To discharge their duties, the officers and directors of AIG were required to exercise
reasonable and prudent supervision over the management, policies, practices and controls of the

financial affairs of the Company. By virtue of such duties, the officers and directors of AIG were

required to, among other things:

(a) refrain from acting upon material inside corporate information to benefit

themselves;

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(b) ensure that the Company complied with its legal obligations and requirements
including acting only within the scope of its legal authority and disseminating truthful and accurate
statements to the SEC and the investing public;

(c) conduct the affairs of the Company in an efficient, business-like manner so as
to make it possible to provide the highest quality performance of its business, to avoid wasting the
Company's assets, and to maximize the value of the Company's stock;

(d) properly and accurately guide investors and analysts as to the true financial
condition of the Company at any given time, including making accurate statements about the
Company's financial results and prospects, and ensuring that the Company maintained an adequate
system of financial controls such that the Company's financial reporting would be true and accurate
at all times;

(e) remain informed as to how AIG conducted its operations, and, upon receipt of
notice or information of imprudent or unsound conditions or practices, make reasonable inquiry in
connection therewith, and take steps to correct such conditions or practices and make such
disclosures as necessary to comply with federal and state securities laws; and

(f) ensure that the Company was operated in a diligent, honest and prudent
manner in compliance with all applicable federal, state and local laws, rules and regulations

40. Each Individual Defendant, by virtue of his or her position as a director and/or officer,
owed to the Company and to its shareholders the fiduciary duties of loyalty, good faith and the
exercise of due care and diligence in the management and administration of the affairs of the
Company, as well as in the use and preservation of its property and assets The conduct of the
Individual Defendants complained of herein involves a knowing and culpable violation of their
obligations as directors and officers of AIG, the absence of good faith on their part, and a reckless
disregard for their duties to the Company and its shareholders that the Individual Defendants were
aware or should have been aware posed a risk of serious injury to the Company. The conduct of the

Individual Defendants who were also officers and/or directors of the Company during the Relevant

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Period have been ratified by the remaining lndividual Defendants who collectively comprised all of
AIG's Board during the Relevant Period.

4l . The Individual Defendants breached their duties of loyalty and good faith by allowing
defendants to cause, or by themselves causing, the Company to misrepresent its financial results and

prospects, as detailed herein infra, and by failing to prevent the Individual Defendants from taking

such illegal actions

CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION
42. ln committing the wrongful acts alleged herein, the lndividual Defendants have

pursued, or joined in the pursuit of, a common course of conduct, and have acted in concert with and
conspired with one another in furtherance of their common plan or design. ln addition to the
wrongful conduct herein alleged as giving rise to primary liability, the Individual Defendants further
aided and abetted and/or assisted each other in breaching their respective duties,

43. During all times relevant hereto, the Individual Defendants collectively and
individually initiated a course of conduct that was designed to and did: (i) conceal the fact that the
Company was improperly misrepresenting its business prospects; (ii) enhance the Individual
Defendants' executive and directorial positions at AIG and the profits, power and prestige that the
lndividual Defendants enjoyed as a result of holding these positions; (iii) sell over $6 million of their
personally held shares; and (iv) deceive the investing public, including shareholders of AIG,
regarding the Individual Defendants' management of AIG's operations, the Company's financial
health and stability, and its future business prospects, specifically related to the Company's financials
that had been misrepresented by defendants throughout the Relevant Period. ln furtherance of this

plan, conspiracy and course of conduct, the Individual Defendants collectively and individually took

the actions set forth herein,

44. The Individual Defendants engaged in a conspiracy, common enterprise and/or
common course of conduct during the Relevant Period. During this time, the lndividual Defendants

caused the Company to conceal the true fact that AIG was misrepresenting its business prospects

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45. The purpose and effect of the Individual Defendants' conspiracy, common enterprise,
and/or common course of conduct was, among other things, to disguise the Individual Defendants'
violations of federal securities law, breaches of fiduciary duty, waste of corporate assets and unjust
enrichment; and to conceal adverse information concerning the Company's operations, financial
condition and future business prospects

46. The Individual Defendants accomplished their conspiracy, common enterprise and/or
common course of conduct by causing the Company to purposefully, recklessly or negligently release
improper statements Because the actions described herein occurred under the authority of the
Board, each of the Individual Defendants was a direct, necessary and substantial participant in the
conspiracy, common enterprise and/or common course of conduct complained of herein.

47. Each of the Individual Defendants aided and abetted and rendered substantial
assistance in the wrongs complained of herein, In taking such actions to substantially assist the
commission of the wrongdoing complained of herein, each Individual Defendant acted with
lmowledge of the primary wrongdoing, substantially assisted the accomplishment of that
wrongdoing, and was aware of his overall contribution to and furtherance of the wrongdoing

BACKGROUND: THE SUBPRIME MORTGAGE CRISIS

48. During times relevant hereto, a crisis arose involving mortgages made to subprime
borrowers A subprime borrower is someone with a low credit score, higher debt-to-income ratio or
other characteristics associated with a high probability of default relative to "prime" or less-risky
borrowers

49. In an environment of appreciating home prices and low interest rates, subprime
borrowers are typically able to stay current due to the rising equity in their property. But in an
environment of depreciating home prices, increasing default rates are the nonn. This is exactly what
has been occurring since at least June 2006.

50. Thus, a subprime mortgage crisis erupted during the summer of 2006. During the
first stage of this crisis, several prominent subprime lenders including New Century Financial

Corporation, declared bankruptcy as liquidity dried up and the lenders, found themselves unable to

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continue originating loans Other subprime lenders, such as Accredited Home Lenders Holding
Company, staged fire sales in a desperate attempt to raise cash to stay afloat.

51. AIG faces exposure to the subprime mortgage crisis on several fronts For starters,
AIG has approximately $94.6 billion invested in mortgage backed securities The Company's
mortgage-insurance business has written over $25.9 billion in policies And AIG has a mortgage
lending segment that is facing an increasing borrower delinquency rate. Despite this exposure, the

Individual Defendants caused or allowed AIG to issue the public statements described below.

IMPROPER STATEMENTS

52. The Individual Defendants by their fiduciary duties of care, good faith and loyalty
owe to AIG a duty to ensure that the Company's financial reporting fairly represents the operations
and financial condition of the Company. In order to adequately carry out these duties, it is necessary
for the Individual Defendants to know and understand the material, non-public information that
should be either disclosed or omitted from the Company's public statements

53. This material, non-public information principally included AIG's exposure to the
subprime mortgage crisis Furtherrnore, defendants Miles, Offit and Sutton, as members of the Audit
Committee, had a special duty to know and understand this material information as set out in the
Audit Committee's charter which provides that the committee is responsible for reviewing and
discussing earnings press releases and financial information and earnings guidance provided to
analysts and rating agencies

54. Defendants Sullivan, Tse, Neuger, Wisner, Schreiber, Bensinger, Dooley, Geissinger,
Habayeb and Lewis had ample opportunity to discuss this material information with their fellow
officers at management meetings and via internal corporate documents and reports Moreover,
defendants Sullivan, Tse, Cohen, Feldstein, Futter, Hammennan, Holbrooke, Langhammer, Miles,
ofrtt, orr, Rometty, sutton, wiuumstad and zarb as directors of AIG had ample opportunity to
discuss this material information with management and fellow directors at any of the Board meetings
that occurred during the Relevant Period, as well as at meetings of committees of the Board. Despite

these duties, the Individual Defendants negligently, recklessly and/or intentionally caused or allowed,

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by their actions or inactions, the following improper statements to be disseminated by AIG to the
investing public and the Company's shareholders during the Relevant Period.

55. On May 10, 2006, the lndividual Defendants caused or allowed AIG to issue is first
fiscal quarter 2006 earnings press release. The press release reported net income of $3.2 billion. The
press release also reported $2.26 billion worth of operating income from AIG's general insurance
segment and $5_19 million worth of operating income from AIG's financial services segment
Defendant Sullivan commented in the press release that AIG "had record General lnsurance results,
with strong gains in operating income and an improved combined ratio." ln particular, the press

release reported as follows:

American lntemational Group, lnc. today reported that its net income for the first
quarter 2006 was $3.20 billion or $1.22 per diluted share, compared to $3.80 billion
or $1.45 per diluted share in the first quarter 2005. At March 31, 2006, consolidated
assets were $879.80 billion and shareholders' equity was $88.39 billion.

Commenting on the first quarter 2006 results, AIG President and CEO Martin
J. Sullivan said, "AIG's first quarter 2006 adjusted net income was $3.38 billion or
$1.29 per share, an increase of 4.6 percent from first quarter 2005. The quarter was
adversely affected by one-time after tax charges of $l 15 million relating to expenses
from the SICO compensation plans and the Starr tender offer. Results were also
negatively affected by an additional allowance for losses in credit card operations in
Taiwan of $88 million before tax or $57 million after tax, and an adjustment relating
to deferred advertising costs in General lnsurance of $59 million before tax or $38
million after tax.

"We had record General lnsurance results, with strong gains in operating
income and an improved combined ratio. Both Domestic and Foreign General
lnsurance operations had outstanding results Life lnsurance & Retirement Services
had reasonably strong underlying performance, with good life insurance reserve
growth and wider annuity spreads in the domestic market, while the overseas
business was adversely affected by foreign exchange. ln Financial Services, the
negative effect of rising interest rates on the Aircraf°t and Consumer Finance
businesses was partially offset by improved Capital Markets transaction flow. Asset
Management results reflect the runoff of the Guaranteed Investment Contract (GIC)
portfolio, the delay in launching our matched investment program and the timing of
real estate gains

"A number of specific accomplishments in the first quarter deserve attention
and reflect AIG's strengths and ability to extend our global franchise The Domestic
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Brokerage Group continued to expand its relationships with a larger number and
broader range of brokers, while also growing its presence in the small business
segment. A number of other new initiatives, such as United Guaranty's international
expansion and the growth of the Private Client Group, are already paying dividends
In addition, the continued strong periodic sales of universal and term life are
indicative of the strength of AIG American General's independent distribution
strategy. Overseas, we announced an agreement to acquire Central lnsurance Co.,
Ltd., creating one of the largest general insurance companies in the Taiwanese
market, Our life insurance operations in Japan successfully launched a series of
single premium products to the newly deregulated bank channel. In April,
applications were approved for provincial expansion of AIG's Chinese life insurance
operations in Guangdong and Jiangsu. At the same time, provincial expansion was
also granted for our general insurance operations in Guangdong. We continue to
execute our growth strategies in all of our business segrnents, introducing new
products and distribution to reach customers and build our global businesses"

GENERAL INSURANCE

General lnsurance reported first quarter 2006 operating income before
realized capital gains of $2.26 billion and a combined ratio of 89. l 7. The relatively
stable rate environment and the continuation of generally favorable policy terms and
conditions contributed to the strong underwriting performance First quarter 2006
general insurance net investment income increased 10.1 percent, benefiting from over
$3 billion in positive cash flow, and higher interest rates.

General lnsurance net premiums written increased 4.3 percent, or 6.0 percent
in original currency, to $11.26 billion in first quarter 2006. Domestic Brokerage
Group growth in net premiums written reflects a continuation of generally improving
renewal retentions, higher property rates and modest rate declines in certain casualty
classes. In Personal Lines, strong premium growth in the Private Client Group and
Agency Auto offset the runoff of the assigned risk business and slight declines at
AIG Direct and 21 st Century. United Guaranty experienced strong premium growth
with increases in all business lines, including new markets in Spain and Mexico.
Foreign General net premiums written growth in original currency was 13.1 percent
in the first quarter 2006. This includes strong growth in consumer lines, especially in
accident & health, while commercial lines premium growth in Europe and excellent

retention rates were partially offset by rate decreases in the United Kingdom and
Australia.

At March 31 , 2006, General lnsurance net loss and loss adjustment reserves
totaled $58.89 billion, a $1.42 billion increase from December 31, 2005. In the first
quarter of 2006, net adverse loss development from prior accident years was
approximately $35 million, including approximately $98 million pertaining to prior
year catastrophes

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FINANCIAL SERVICES

First quarter 2006 Financial Services operating income before the effect of
FAS 133 was $519 million compared to $5 62 million in first quarter 2005 , a decline
of 7.7 percent With the ongoing improvement in the global commercial aviation
market, especially in Asia, Intemational Lease Finance Corporation experienced
increased demand and continued improvement in lease rates The effect of the
positive lease and sales environment on operating income was offset by rising interest
rates, increased credit and tax reserves and lease accruals Capital Markets results
reflect an increase in credit and equity transaction volume and continued growth in
demand for products tracking the Dow Jones-AIG Commodity lndex. Consumer
Finance operating income declined as a result of higher borrowing costs and the
previously noted increase in loan loss reserves for the credit card business in Taiwan,
where the lending industry has been affected by deteriorating consumer credit
conditions This resulted in an overall increase in the loan loss allowance of $88
million, of which half is allocated to Foreign Life's operations as noted above.
Favorable U.S. consumer credit conditions during first quarter 2006 contributed to
American General Finance's improved net charge off and delinquency ratios.

56. On August 9, 2006, the Individual Defendants caused or allowed AIG to issue its
second fiscal quarter 2006 earnings press release. The press release reported net income of $3.19
billion. The press release also reported $2.99 billion in operating income from AIG's general
insurance segment and $615 million worth of operating income from AIG's financial services
segment Defendant Sullivan commented in the press release that "AIG's strong second quarter
performance reflects our ability to quickly address changes in market conditions and client deman ."

In particular, the press release reported as follows:

American Intemational Group, Inc. today reported that its net income for the second
quarter of 2006 was $3.19 billion or $1.21 per diluted share, compared to $4.49
billion or $l.71 per diluted share in the second quarter of 2005. Net income, as
reported, includes economically effective hedging activities that currently do not
qualify for hedge accounting treatment under FAS 133, including the related foreign
exchange gains and losses Second quarter 2006 adjusted net income, as defined
below, was $4.16 billion or $1.58 per diluted share, compared to $3.28 billion or
$1.25 per diluted share in the second quarter of 2005.

During the second quarter of 2006, AIG recorded an addition to income of
$374 million, net of tax, or $0.14 per diluted share, related to the correction of the
accounting for certain interests in unit investment trusts These investments had
previously been accounted for as available for sale securities, with changes in market
values being reflected in other comprehensive income, The changes in market values

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are now included in AIG's net investment income. This adjustment had no effect on
consolidated shareholders' equity at June 30, 2006 or December 31, 2005.

Net income for the first six months of 2006 was $6.39 billion or $2.43 per
diluted share, compared to $8.29 billion or $3.16 per diluted share in the first six
months of 2005. Adjusted net income for the first six months of 2006 was $7.53
billion or $2.87 per diluted share, compared to $6.51 billion or $2.48 per diluted
share in the first six months of 2005.

Commenting on the second quarter's results, AIG President and Chief
Executive Officer Martin J. Sullivan said, "AIG had a very good quarter. Once again,
our performance underscored the strength of AIG's widely diversified business
portfolio, both domestically and overseas General lnsurance posted record
underwriting profits, with a combined ratio of` 86.47. Net premiums written increased
across the board, and our General lnsurance operations are well positioned to
capitalize on opportunities in the current market environment Life lnsurance &
Retirement Services had a mixed quarter, including strong production results in the
domestic life insurance, payout annuities and individual variable annuities lines, with
an ongoing difficult sales environment in individual fixed annuities Our domestic
life insurance operations were affected by declines in investment yield enhancements
We were also challenged by market conditions in Japan and Taiwan. We are taking
appropriate action, including shifting our product mix to emphasize investment
linked and personal accident & health products that provide better margins than
traditional savings-oriented life products in the current low interest rate environment

"Financial Services also reported good results Demand for Intemational
Lease Finance Corporation's (ILFC) modem, firel efficient fleet continues to be
strong. Capital Markets experienced improved results emanating from increased
transaction flow compared to last year. Consumer Finance was affected by the
slowing U.S. real estate market and rising interest rates Asset Management produced
strong results, primarily driven by our Institutional Asset Management business
During the quarter, we launched our matched investment program to replace the
Guaranteed Investment Contract portfolio which is now in runoff`.

"AIG's strong second quarter performance reflects our ability to quickly
address changes in market conditions and client demand. A number of recent
accomplishments demonstrate our continued focus on geographic expansion and
strategic acquisitions that will contribute to future profitable growth. For example,
the expansion of our Chinese life insurance operations in Guangdong and Jiangsu
provinces and the approval to conduct group insurance business throughout
American Intemational Assurance's operations in China will enable AIG to
strengthen our penetration in the retail and institutional markets in China, adding to
our existing strong presence there. During the second quarter, the Canadian
Parliament passed legislation that will allow United Guaranty Corporation to begin
writing business in the world's second largest mortgage guaranty market, when
provincial licenses are issued.

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"After the quarter's close, AIG announced the acquisition of Central lnsurance
Co., a significant general insurance business in Taiwan. With this acquisition, AIG's
companies become one of the largest general insurance businesses in that market,
ranking third in gross premiums written."

GENERAL INSURANCE

General lnsurance reported second quarter 2006 operating income before
realized capital gains (losses) of $2.99 billion, a 68.6 percent increase over the
second quarter of 2005. Second quarter operating income increased 44.2 percent to
$2.56 billion, excluding the $432 million pretax increase in income relating to the out
of period adjustment from unit investment trust accounting, of which $412 million
pertains to Foreign General. General lnsurance achieved a combined ratio of 86.47, a
5.41 point improvement over the second quarter of 2005, primarily the result of an
improved current accident year loss ratio compared to the 2005 accident year loss
ratio recorded in the second quarter of 2005. The strong underwriting performance
reflects continued generally favorable pricing, policy terms and conditions Second
quarter 2006 General lnsurance net investment income, excluding the out of period
adjustment, increased 11.5 percent, benefiting from positive cash flow and rising
interest rates Partnership income overall was good, but declined compared to very
strong results in the second quarter of 2005. Foreign General net investment income,
excluding the out of period adjustment, declined in the quarter compared to last year
due to higher partnership realizations in the second quarter of 2005.

General lnsurance net premiums written increased 9.3 percent to $11.63
billion in the second quarter, The Domestic Brokerage Group (DBG) continued to
execute its core strategies of expanding distribution, product innovation and cross
selling, as well as capitalizing on its extensive nationwide office network. These
competitive advantages contributed to DBG's 10.8 percent growth in net premiums
written in the quarter. ln the United States, property rates remained strong in the
second quarter with modest rate declines in certain casualty classes Personal Lines
reported an improved combined ratio and strong premium growth in the Private
Client Group and Agency Auto, offset by the runoff of the assigned risk business and
a slight decline in the direct auto businesses United Guaranty had strong premium
growth with increases in all business lines, and improved persistency in its domestic
first lien business

Foreign General net premiums written in original currency rose 12.4 percent
in the second quarter, with strong growth in personal lines and accident & health, and
very good retention rates in commercial lines Efforts to expand the homeowners and
warranty businesses contributed to personal lines growth in the quarter,

At June 30, 2006, General lnsurance net loss and loss adjustment reserves
totaled $60.21 billion, a $1.32 billion increase from March 31, 2006, In the second
quarter of 2006, net favorable loss development from prior accident years was
approximately $248 million. This includes favorable development from prior year
catastrophes of approximately $53 million and excludes accretion of discount of
approximately $101 million.

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FINANCIAL SERVICES

Second quarter 2006 Financial Services operating income before the effect of
FAS 133 was $615 million, an increase of 5.7 percent compared to the second quarter
of 2005. ILFC operating income in the second quarter of 2006 was approximately
equal to the second quarter of 2005, as increased lease and overhaul revenues were
offset by rising interest rates and charges related to bankrupt airlines Excluding the
effect of FAS 133, Capital Markets reported improved results due to increased
transaction flow, especially in credit, commodity and equity products Consumer
Finance operating income declined as a result of higher borrowing costs, a cooling
domestic residential real estate market, higher expenses related to overseas expansion
and lower new business volumes in Taiwan in the wake of the industry wide
deterioration of consumer credit conditions ln the U.S., emphasis on retail finance
and branch generated products should help offset the slowdown in the domestic
residential real estate market Domestically, net charge off and delinquency ratios
improved compared to the second quarter of 2005.

57 . On November 9, 2006, the individual Defendants caused or allowed AIG to issue its
third fiscal quarter 2006 earnings press release. The press release reported net income of $4.22
billion, The press release also reported $2.6 billion in operating income from AIG's general
insurance segment and $574 million in operating income from AIG's financial services segment
Defendant Sullivan commented in the press release that "AIG has a diversified portfolio of market
leading businesses that complement and balance each other." In particular, the press release

provided as follows:

American International Group, Inc. today reported that its net income for the third
quarter of 2006 was $4.22 billion or $1.61 per diluted share, compared to $1.7 5
billion or $0.66 per diluted share in the third quarter of 2005. Net income, as
reported, includes the effect of economically effective hedging activities that
currently do not qualify for hedge accounting treatment under FAS 133, including the
related foreign exchange gains and losses Third quarter 2006 adjusted net income, as
defined below, was $4.02 billion or $1.53 per diluted share, compared to $1.86
billion or $0.71 per diluted share in the third quarter of 2005.

Net income for the first nine months of 2006 Was $10.61 billion Or $4.04 per
diluted share, compared to $10.03 billion or $3.82 per diluted share in the first nine
months of 2005. Adjusted net income for the first nine months of 2006 was $11.55
billion or $4.40 per diluted share, compared to $8.37 billion or $3.19 per diluted
share in the first nine months of 2005.

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Results for the third quarter and nine months of 2005 include $1.57 billion in
catastrophe related losses, net of tax, or $0.60 per diluted share, There have been no
significant catastrophes in 2006.

During the third quarter of 2006, as part of its continuing remediation efforts
AIG recorded certain out of period adjustments These adjustments collectively
increased net income by $73 million and adjusted net income by $5 0 million and are
further detailed in the AIG Form lO-Q for the quarter ended September 30, 2006,

At September 30, 2006, AIG's consolidated assets were $941.54 billion and
shareholders' equity Was $96.15 billion.

Commenting on the third quarter's results, AIG President and ChiefExecutive
Officer Martin J. Sullivan said, "AIG had a very good quarter led by strong
performance in our worldwide General lnsurance businesses and improved results in
our Life lnsurance & Retirement Services operations We continue to execute our
growth strategies by capitalizing on our unique global nanchise and product and
distribution capabilities that distinguish AIG from our competitors

"General lnsurance posted growth in net premiums written of 8.8 percent and
excellent underwriting profitability. Net premiums written for the third quarter of
2005 included a reduction of $25 8 million for reinstatement premiums related to
catastrophes, accounting for approximately three percentage points of this increase
Across the board, our General lnsurance operations are executing their growth
strategies, leveraging their competitive advantages and maintaining underwriting
discipline General lnsurance cash flow was strong.

"Life lnsurance & Retirement Services generated good results Domestic life
insurance reported solid growthin earnings driven by increased premium revenue and
improved net investment income Payout annuities performed well in terms of
premium and reserve growth during the quarter, ln Domestic Retirement Services,
net flows continue to be negative and reserve growth modest Individual fixed
annuities are facing a difficult sales environment while sales of individual variable
annuities remain strong. The group retirement products business has successfully
implemented a number of product initiatives that have helped retain and attract
rollover assets in a highly competitive environment

"Foreign Life lnsurance & Retirement Services performed very well across
most product lines and regions The introduction ofinvestment-linked products has
been well received in a number of key markets and distribution channels Our
ongoing focus on accident & health products is increasing margins as intended. We
are encouraged by the continuing progress we have made in Taiwan, as a number of
the product and investment strategies initiated over the past year are showing positive
results Market conditions in Japan remain challenging due to increased competition

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However, we are taking action with our product and distribution strategies in
anticipation of full deregulation and are confident in our long term prospects

"Financial Services results declined, principally due to the effect of rising
interest rates on the aircraft finance and consumer finance businesses These results
exclude the effect of economically effective hedging activities that currently do not
qualify for hedge accounting treatment under FAS 133. [LFC has expanded the size
of its fleet over the past year and is well positioned to meet the strong demand for its
aircraft in a lease rate environment that remains favorable American General Finance
continued to grow its finance receivables portfolio notwithstanding a moderating real
estate market Strong revenue growth in our Poland and Argentina consumer finance
operations were offset by costs related to expansion Capital Markets earnings
declined, although AIGFP‘s transaction flow for credit, commodity and equity
products remained robust.

"Asset Management results declined as a result of the runoff of the domestic
Guaranteed Investment Contract (GIC) portfolio and lower performance fees from
the lnstitutional Asset Management business compared to the third quarter of 2005.
Growth in Institutional client assets continues to be driven by our specialty listed
equity and emerging market products

"AIG has a diversified portfolio of market leading businesses that
complement and balance each other. Our geographic diversification throughout the
world contributes to the strength of our business During this quarter we continued to
develop our global franchise by launching new initiatives in growing economies For
exarnple, Foreign General set up operations in the Dubai Intemational Financial
Centre to expand its presence in the Middle East, Mediterranean and South Asia
regions As part of this effort, Foreign General also entered the Islamic Sharia-
compliant insurance market with the launch of a new regional company, AIG
Takaful, headquartered in Bahrain. AIG's consumer finance company in Poland, a
recognized leader in that market, recently launched a credit card initiative to
complement its existing personal loan products Notably, after the quarter's close,
AIG received regulatory approval from the Reserve Bank of India to operate a wholly
owned Non Bank Finance Company that will serve as a platform to build an asset
management and consumer finance franchise in lndia."

GENERAL INSURANCE

General lnsurance reported third quarter 2006 operating income before
realized capital gains (losses) of $2.60 billion compared to a third quarter 2005 loss
of $208 million Third quarter 2005 results include $2.11 billion in pretax catastrophe
related losses and net reinstatement premiums There have been no significant
catastrophes in 2006, The third quarter 2006 combined ratio was 89.10, a 2.34 point
improvement compared to a 91.44 third quarter 2005 combined ratio excluding
catastrophe losses In the third quarter of 2006, certain out of period adjustments
related to the remediation of balance sheet account reconciliations increased net
premiums earned by $99 million and increased bad debt expense by $225 million
These adjustments reflect continuing progress in AIG's ongoing remediation efforts

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Third quarter 2006 General lnsurance net investment income increased 38.8 percent,
benefiting from strong cash flow and higher partnership income for the Domestic
Brokerage Group, lncluded in third quarter 2006 net investment income were $213
million in out of period adjustments related to accounting for certain investments in
unit investment trusts and partnerships

Third quarter 2006 Domestic Brokerage Group net premiums written
increased 10.3 percent to $6.07 billion compared to the third quarter of 2005. Net
premiums written for the third quarter of 2005 were reduced by $ 122 million due to
reinstatement premiums related to catastrophes. Net premiums written for the third
quarter of 2006 were increased by $47 million due to the reversal of a reinsurance
contract previously accounted for as reinsurance and now accounted for as a deposit
The overall effect of these items contributed approximately three percentage points to
the year over year increase Premium growth was driven by commercial property,
primary casualty, environmental and accident & health. In Personal Lines, strong
premium growth in the Private Client Group was offset by the runoff of the assigned
risk business and a decline in the AIG Direct, Agency Auto and 21st Century
businesses United Guaranty had strong premium growth with increases in all
business lines, primarily driven by the domestic second lien and international
businesses

Foreign General net premiums written in original currency rose 8.8 percent in
the third quarter of 2006, with commercial and consumer lines growth from new
business and new distribution channels Higher premiums from the Ascot Lloyd's
(Ascot) syndicate and lower reinstatement premium costs compared to the third
quarter of 2005 contributed to the growth in net premiums written The third quarter
2006 combined ratio was 83.67, with the expense ratio increasing from the prior year
principally due to higher commissions related to the reinsurance and wholesale
business written by Ascot and the shift in business mix to consumer lines and certain
commercial lines where average acquisition costs are higher.

At September 30, 2006, General lnsurance net loss and loss adjustment
reserves totaled $61.51 billion, a $1.30 billion increase nom June 30, 2006, This
included $55 million of reserves related to the acquisition of Central lnsurance Co.,
Ltd. in the quarter, ln the third quarter of 2006, net favorable loss development from
prior accident years was approximately $41 million This includes adverse
development nom prior year catastrophes of approximately $43 million and excludes
accretion of discount of approximately $ 101 million Excluding catastrophes and the
general reinsurance operations ofTransatlantic, as well as accretion of discount, the
overall favorable development consisted of approximately $490 million of favorable
development from accident years 2003 through 2005, partially offset by
approximately $3 80 million of adverse development from accident years 2002 and
pnor.

FINANCIAL SERVICES
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Third quarter 2006 Financial Services operating income before the effect of
economically effective hedging activities that currently do not qualify for hedge
accounting treatment under FAS 133 was $574 million, a 4.2 percent decline
compared to the third quarter of 2005.

ILFC operating income in the third quarter of 2006 declined 10.3 percent to
$157 million, as increases in lease and overhaul revenues were more than offset by an
increase in interest expense due to rising interest rates and the inability to apply
hedge accounting Since hedge accounting under FAS 133 is not applied, the benefit
of economically effective interest rate and foreign currency hedges is not reflected in
[LFC's borrowing rates, and as a result, adversely affects the increase in interest
expense ILFC continues to enhance its market leadership position by maximizing
lease placements in the strengthening European and Asian aviation markets Capital
Markets results declined compared to the third quarter of 2005 as the continued flat
yield curve and dollar to yen exchange rate affected demand in the structured note
market However, Capital Markets transaction flow has remained strong throughout
the year as its expertise in super senior credit derivatives, equity derivatives and
customized commodity index products remains in demand by their global client base

Consumer Finance operating income increased 15 .8 percent to $220 million
These results were affected by $62 million in third quarter 2005 pretax catastrophe
related losses in the domestic consumer finance operations However, after a
reassessment of payment and charge-off experience, American General Finance
(AGF) reduced the finance receivables reserve related to Hurricane Katrina by $22
million in the third quarter 2006. While AGF experienced higher borrowing costs and
a less robust real estate market compared to the prior year, third quarter 2006
receivables increased and the net charge off ratio improved compared to the third
quarter of 2005. Overseas, higher revenue growth in Poland and Argentina was offset
by margin compression and higher expenses related to branch and product
expansions.

58. On March 1, 2007, the Irrdividual Defendants caused or allowed AIG to issue its fiscal

2006 earnings press release The press release reported net income of $l4.05 billion for the year.
The press release also reported $2.51 billion in quarterly operating income from AIG's general
insurance segment and S638 million in quarterly operating income from AIG's financial services
segment Defendant Sullivan commented in the press release that AIG "also made significant

progress throughout the year in improving [the Company’s] financial control environment, providing

greater transparency in our financial disclosures and remaining on the forefront of good corporate

governance." ln particular, the press release provided as follows:

American lntemational Group, lnc. reported net income for the full year 2006 of
$14.05 billion or $5.36 per diluted share, compared to $10.48 billion or $3.99 per
diluted share for the full year 2005. Net income, as reported, includes the effect of

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economically effective hedging activities that did not qualify for hedge accounting
treatment under FAS 133, including the related foreign exchange gains and losses
Full year 2006 adjusted net income, as defined below, was $15.41 billion or $5.88

per diluted share, compared to $8.75 billion or $3.33 per diluted share for the full
year of 2005.

Net income for the fourth quarter of 2006 was $3.44 billion or $1.31 per
diluted share compared to $444 million or $0.17 per diluted share for the fourth
quarter of 2005. Fourth quarter 2006 adjusted net income was $3.85 billion or $1.47
per diluted share, compared to $376 million or $0.14 per diluted share for the fourth
quarter of 2005.

Fourth quarter 2006 results were negatively affected by charges for the
adverse ruling in the Superior National arbitration and the exit of the domestic
financial institutions credit life business, which collectively decreased net income by
$124 million or $0.05 per diluted share Fourth quarter 2006 results also included a
$129 million or $0.05 per diluted share charge related to an increase in asbestos and
environmental reserves resulting from the updated ground up analysis of these
exposures ln addition, AlG recorded fourth quarter 2006 out of period adjustments
that collectively increased net income by $56 million or $0.02 per diluted share The
out of period adjustments are further detailed in the AIG Forrn 10-K for the year
ended December 31, 2006.

Full year and fourth quarter 2005 results included a $1 . 15 billion or $0.44 per
diluted share after-tax charge resulting from regulatory settlements and a $1.19
billion or $0.45 per diluted share after-tax charge related to an increase of
approximately $1.82 billion to AIG's net reserve for losses and loss expenses
Additionally, full year and fourth quarter 2005 results include catastrophe-related
losses, net of tax of $2.1 1 billion or $0.80 per diluted share and $540 million or $0.20
per diluted share, respectively.

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At December 31, 2006, AIG's consolidated assets were $979.41 billion and
shareholders' equity was $ 101 .68 billion, Book value per share increased 17.6 percent
to $39.09 from $33.24 a year ago.

Commenting on full year and fourth quarter 2006 results, AIG President and
CEO Martin J. Sullivan said, "2006 was a remarkable year beginning with the
resolution of our significant regulatory challenges and ending with excellent financial
results This performance reflects AIG's attractive worldwide market positions and
the growth and diversification across our maj or businesses We also made Significant
progress throughout the year in improving our financial control environment,
providing greater transparency in our financial disclosures and remaining on the
forefront of good corporate govemance. ln addition, we advanced our economic
capital modeling initiative which will help us optimize our capital management
strategies By coupling the competitive advantages of our diverse, global operations
with our strategies for capital management we expect to create additional

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opportunities to grow at attractive rates of return and, ultimately, drive greater
shareholder rettuns.

"AIG reported solid increases in income in 2006. Results for the year and the
fourth quarter were led by our Worldwide General lnsurance businesses and improved
performance in Foreign Life lnsurance This overall performance reflects AIG's
ability to quickly address the challenging market conditions a number of our
businesses encountered throughout the year, meet the evolving needs of a diverse
global client base, capitalize on new market and product opportunities and exercise
the leadership for which AIG has long been known

“ln the fourth quarter, General lnsurance generated strong growth in operating
income, reflecting excellent underwriting results and significant returns on
partnership investments The Domestic Life lnsurance businesses reported good
underlying performance in the life insurance and payout annuity businesses By
exiting the domestic financial institutions credit life business, we will focus our
efforts on growth opportunities in the small case employer benefits and voluntary
worksite business ln Domestic Retirement Services, the fixed annuity business
continues to face a difficult sales environment and surrender activity remains high.
Foreign Life lnsurance & Retirement Services results have been improving, as our
strategy to shin the product mix to investment-linked and personal accident & health
products was well executed. We still face challenging conditions in certain markets,
but we have taken action and are confident in the long-term prospects of our global
Life lnsurance & Retirement Services franchise

"Financial Services results were led by robust transaction flow from the
Capital Markets operations ILFC's modem, fuel-efficient fleet remains in high
demand from airlines around the world. Despite the slowdown in the U.S. real estate
market, credit quality in the American General Finance portfolio has held up well.
Asset Management results were again adversely affected by the runoff of the
Domestic Guaranteed Investment Contract portfolio. Institutional Asset Management
results were affected by lower performance fees and real estate gains compared to the
fourth quarter of 2005. This business, however, continues to make significant strides
in attracting client assets and expanding the breadth of its product offerings."

GENERAL lNSURANCE

General lnsurance reported fourth quarter 2006 operating income before
realized capital gains (losses) of $2.51 billion compared to a fourth quarter 2005 loss
of $1 .16 billion Fourth quarter 2005 results included $77 5 million in pretax current
period catastrophe-related losses and net reinstatement premiums and the $1.82
billion general insurance reserve charge There were no significant catastrophes in
2006. The fourth quarter 2006 combined ratio was 91 .69, a 4.47 point improvement
compared to a 96.16 fourth quarter 2005 combined ratio excluding current period
catastrophe-related losses and the reserve charge Fourth quarter 2006 General
lnsurance net investment income was $1.59 billion, benefiting from strong cash flow,
higher interest rates and a substantial increase in partnership income compared to the
fourth quarter of 2005.

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Fourth quarter 2006 Domestic Brokerage Group (DBG) net premiums written
declined 2.7 percent to $5.89 billion compared to the fourth quarter of 2005. Net
premiums written in the fourth quarter of 2005 included approximately $300 million
for the Richmond commutation from Foreign General and $147 million related to an
accrual for workers' compensation premiums The combined effect of these items
reduced the fourth quarter 2006 growth rate in net premiums written by 7.7 percent
DBG experienced premium growth in many lines of business, including commercial
property, primary casualty, accident & health, environmental and multinational
liability, as well as in Hartford Steam Boiler's boiler and machinery coverages

Personal Lines net premiums written increased slightly compared to the fourth
quarter of 2005, as strong growth in the Private Client Group and an increase in new
business policies in the direct auto business was partially offset by a decline in the
Agency Auto business

Mortgage Guaranty operating income declined primarily as a result of
unfavorable loss experience on third party originated second-lien business with lower
than usual credit quality combined with the effect of the sonening of the U.S.
housing market The writing of this second-lien product business was discontinued as
of year end 2006.

Fourth quarter 2006 Foreign General net premiums written increased 32.5
percent to $2.5 9 billion compared to $1.96 billion in the fourth quarter of 2005 , with
strong growth in personal and commercial lines driven by new business from new
and existing distribution channels Net premiums written for the fourth quarter of
2005 were reduced by approximately $300 million related to the previously
mentioned Richmond commutation to DBG. This item increased the fourth quarter
2006 growth rate in net premiums written by 17.6 percent Premium growth was
driven by increases in personal property, auto and warranty lines as well as in primary
casualty and financial lines

At December 31, 2006, General lnsurance net loss and loss adjustment
reserves totaled $62.63 billion, a $5.15 billion increase from December 31, 2005 and
a $1.12 billion increase from September 30, 2006. For the full year 2006, net loss
development from prior accident years, excluding accretion of discount was
favorable by approximately $53 million This includes a fourth quarter 2006 increase
of approximately $198 million in asbestos and environmental reserves The overall
favorable development in 2006 consisted of approximately $2.30 billion of favorable
development from accident years 2003 through 2005 , partially offset by
approximately $2.25 billion of adverse development from accident years 2002 and
prior. Fourth quarter 2006 net loss development from prior accident years, excluding
accretion of discount and including the increase in asbestos and environmental
reserves, was adverse by approximately $202 million The overall adverse
development in the quarter followed the accident year experience pattern of the full
year.

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FINANCIAL SERVICES

Fourth quarter 2006 Financial Services operating income before the effect of
economically effective hedge activities that did not qualify for hedge accounting
treatment under FAS 133 was $638 million, an increase of 22.9 percent compared to
the fourth quarter of 2005.

ILFC operating income in the fourth quarter of 2006 increased 13.9 percent
largely the result of increased lease revenues and aircran sales, partially offset by an
increase in interest expense compared to the fourth quarter of 2005. Since hedge
accounting under FAS 133 was not applied, ILFC's interest expense did not reflect
the benefit of hedging its interest rate and foreign currency risks on its debt

Capital Markets operating income in the fourth quarter of 2006 increased
significantly as results were, in part driven by increased transaction flow for
structured credit products, coupled with favorable demand generally across the full
range of its product areas Fourth quarter 2006 results benefited from the realization
of gains on a number of transactions originated in prior years that matured or were
sold in the quarter, Fourth quarter 2005 results were adversely affected by the
reduction of Capital Markets‘ investor-based structured notes business due to AIG's
inability to fully access the capital markets during 2005.

Fourth Quarter 2006 Consumer Finance operating income declined 26.4
percent to $l67 million compared to the fourth quarter of 2005. American General
Finance (AGF) experienced slower production in its real estate lending products and
margin compression compared to the prior year, partially offset by growth in non-real
estate consumer finance products However, credit quality throughout 2006 remained
stable and higher margin non-real estate and retail sales finance receivables increased
compared to the fourth quarter of 2005. Higher revenues from the foreign consumer
finance operations were offset by increased expenses related to product and branch
expansion

59. On May 10, 2007, the Individual Defendants caused or allowed AIG to issue its first

fiscal quarter 2007 earnings press release The press release reported net income of $4. 13 billion
The press release also reported $2.98 billion in operating income for its general insurance segment
and $444 million in operating income from its financial services segment Defendant Sullivan
admitted in the press release that "United Guaranty's results were adversely affected by the continued
slowdown in the U.S. residential real estate market." Sullivan also disclosed a $ 128 million charge
in connection with Company discussions with the Office of Thrin Supervision regarding loans
originated by AIG Federal Savings Bank. Nevertheless, Sullivan continued to claim that AIG's

businesses were continuing to "execute on their growth strategies . . .." In particular, the press release

provided as follows:

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American lntemational Group, lnc. today reported that its net income for the first
quarter of 2007 was $4.13 billion or $l.58 per diluted share, compared to $3.20
billion or $1.22 per diluted share in the first quarter of 2006, Net income, as reported,
includes the effect of economically effective hedging activities that did not qualify
for hedge accounting treatment under FAS 133 or for which hedge accounting was
not applied, including the related foreign exchange gains and losses First quarter
2007 adjusted net income, as defined below, was $4.39 billion or $1.68 per diluted

share, compared to $3.38 billion or $1.29 per diluted share for the first quarter of
2006.

At March 31, 2007, AIG's consolidated assets were $999.75 billion and
shareholders' equity was $103.06 billion Book value per share increased to $39.64
compared to $39.09 at year end 2006,

During the first quarter of 2007, AIG repurchased 2,470,499 shares of its
common stock. An additional 6,643,052 shares were purchased during April 2007.

Commenting on first quarter 2007 results AIG President and CEO Martin J.
Sullivan said, "AIG had a very good quarter, with strong performance in our
worldwide General lnsurance businesses continued improvement in Foreign Life
lnsurance, and solid results at ILFC and Asset Management

"ln General lnsurance, the Domestic Brokerage Group and Foreign General
reported strong growth in operating income on excellent underwriting results and
increased net investment income United Guaranty's results were adversely affected
by the continued slowdown in the U.S. residential real estate market Domestic
Personal Lines reflects strong underwriting results in the direct auto business and
continued profitable growth from the Private Client Group.

"Domestic Life lnsurance results were driven by in-force growth and
increased net investment income in the life insurance and payout annuity businesses
while Domestic Retirement Services experienced a decline in deposits and increased
surrender activity. ln Foreign Life lnsurance & Retirement Services, most product
lines and regions performed well.

"In Financial Services, aircran lease rates remained strong as did demand for
ILFC's modern fuel-efficient fleet AIG Financial Products experienced slower
transaction flow compared to a strong first quarter of 2006, While the slowdown in
the U.S. residential real estate market affected American General Finance's results
prior action taken to limit certain geographic and product exposures has helped AGF
avoid some of the significant credit deterioration currently facing the real estate
lending industry. First quarter 2007 consumer finance operating income was
adversely affected by a $ 128 million pre-tax charge relating to ongoing discussions
with the Office of Thrin Supervision relating to loans originated in the name of AIG
Federal Savings Bank.

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"Asset Management results increased compared to the first quarter of 2006,
due primarily to growth in Guaranteed Investment Contracts which benefited from
higher partnership income, which will vary from period to period. Growth in
lrrstitutional Asset Management revenues and operating income was driven by
contributions from all asset classes globally.

"As our businesses execute on their growth strategies we continue to seek
opportunities to extend our global footprint, laying the groundwork for the fixture F or
example, in March, AIG Global Investment Group received approval to set up a
representative office in Tianjin, the third largest city in China in per capita GDP. AIG
Consumer Finance Group added to its existing retail bank and credit card operations
in Thailand by acquiring a majority interest in a secured lending company with a
network of 138 branches We have also taken initial steps to build an asset
management and consumer finance franchise in Irrdia by acquiring a sales finance
lending operation, establishing a real estate investment joint venture and launching
our first equity fund. We believe these businesses complement our existing
operations in these markets and offer future growth potential."

GENERAL lNSURANCE

General Irrsurance first quarter 2007 operating income before realized capital
gains (losses) increased 31.5 percent to $2.98 billion compared to the first quarter of
2006, The first quarter 2007 combined ratio was 87.52, a 1.65 point improvement
compared to the first quarter of 2006, including a 2.46 point improvement in the loss
ratio. First quarter 2007 General Irrsurance net investment income increased 39.8
percent to $1.56 billion, on higher levels of invested assets and increased partnership
income compared to the first quarter of 2006.

Domestic Brokerage Group (DBG) net premiums written increased 2.5
percent to $6.01 billion compared to the first quarter of 2006, with DBG's diverse
product offerings including energy, environmental, multinational liability and
accident & health products contributing to the quarter's growth. Strong growth in the
accident & health lines was enhanced by the acquisition of TravelGuard Irrtemational
in the second quarter of 2006. The growth in net premiums written was partially
offset by declines in certain parts of the excess casualty and directors & officers
product lines reflecting sonening market conditions for those products

Personal Lines net premiums written increased 2.6 percent compared to the
first quarter of 2006, resulting from continued growth in the Private Client Group and
increases in the direct auto business driven by strong new business production,
particularly from Irrtemet activity.

Mortgage Guaranty operating income declined primarily due to the continued
sonening of the U.S. housing market, resulting in unfavorable loss experience on
domestic first and second-lien business including continuing adverse performance of
the third-party originated second-lien product Net premiums written increased on
strong growth in European markets and higher renewal premiums on the domestic
second-lien book of business

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Foreign General net premiums written increased 12.6 percent in original
currency compared to the first quarter of 2006, with growth in both commercial and
consumer lines driven by new business from both established and new distribution
channels Higher commercial lines retention rates and growth in financial lines and
primary casualty, particularly in Europe, contributed to the increase

At March 31, 2007 , General lnsurance net loss and loss adjustment reserves
totaled $64.03 billion, a $1.40 billion increase from December 31, 2006, For the first
quarter of 2007 , net loss development from prior accident years excluding accretion
of discount was favorable by approximately $131 million The overall favorable
development consisted of approximately $265 million of favorable development
from accident years 2003 through 2006, partially offset by approximately $134
million of adverse development from accident years 2002 and prior.

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FlNANCIAL SERVICES

First quarter 2007 Financial Services operating income before realized capital
gains (losses) and the effect of economically effective hedging activities that did not
qualify for hedge accounting treatment under FAS 133 or for which hedge accounting
was not applied, was $444 million, a decline of 14.3 percent compared to the first
quarter of 2006. ln the first quarter of 2007, AIG began applying hedge accounting
for certain transactions primarily in its Capital Markets operations

Aircran Leasing operating income in the first quarter of 2007 increased 49.6
percent, as strong lease rates increased utilization and growth in the ILFC lease
portfolio offset the increase in interest expense compared to the first quarter of 2006.
First quarter 2006 ILFC operating income included $37 million in charges relating to
increased tax and credit reserves and overhaul accruals Transaction volume at AIG
Financial Products in equity, commodity and interest rate products slowed in the first
quarter of 2007 compared to a stronger first quarter of 2006, which benefited from a
number of sizable realizations. In a transaction-oriented business like Capital
Markets such variability in results is not unusual.

First quarter 2007 Consumer Finance operating income declined 57.7 percent
to $74 million compared to the first quarter of 2006, First quarter 2006 results
included an $88 million increase in loan loss reserve for the Taiwan credit card
business half of which was allocated to Foreign life insurance

In light of evolving market and regulatory developments affecting non-prime
mortgage lending, AIG's domestic consumer finance operations are in ongoing
discussions with the Office of Thrin Supervision relating to loans originated in the
name of AIG Federal Savings Bank during the period from July 2003 to May 2006.
Management expects that the application of underwriting criteria developed in
consideration of regulatory guidance issued by the banking agencies will result in
significant costs to the domestic consumer finance operations At this time,
management's best estimate of these costs is $128 million pre-tax, and a charge for

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this amount has been included in consumer finance operating income for the three
months ended March 31, 2007.

AGF operating income was also affected by lower real estate production
volumes and margin compression compared to the prior year. While delinquency
ratios increased compared to the prior year, they remained at historically low levels
These results were partially offset by growth in non-real estate and retail sales
receivables Higher revenues nom the foreign consumer finance operations primarily
in Poland and Argentina, were offset by increased expenses related to product and
branch expansion

60. On May l l, 2007, AIG hosted an eamings conference call. During the call, defendant
Neuger stated that he saw the weakening subprime market as creating "a lot of opportunity" for AIG.

Neuger continued as follows:

We have been disciplined in credit quality .... What is happening is players are
leaving the market or abandoning the business Some of them have gone bankrupt as
l am sure you know. And some of the exotic products that have been offered,
particularly the negative am loans which we never did offer, are I think going to be a
very, very reduced part of the marketplace That means that there is going to be much
more of a level playing field from our perspective Therefore, l think there is a lot of
opportunity for us in the next 18 to 24 months

61. During the call, in regard to the $128 million charge, defendant Dooley commented
that the charge is "not only an AIG issue, but it is a market issue" Dooley commented further that
"[t]he federal banking regulations are seeking to have lenders assist certain non-prime borrowers to
remain in their homes and these discussions have centered around that . .." In regard to the charge,
defendant Sullivan commented that "[w]e expect that the application of underwriting criteria
developed in consideration of regulatory guidance issued by the banking agencies will result in
significant cost .... our best estimate of these costs is $128 million ...."

62. On August 8, 2007, the lndividual Defendants caused or allowed AIG to issue its
second fiscal quarter 2007 earnings press release The press release reported net income of $4.28
billion The press release also reported $3.04 billion in operating income for AIG's general insurance
segment and $512 million in operating income for AIG's financial services segment Defendant
Sullivan commented that "We continue to be very comfortable with our exposure to the U.S.
residential mortgage market, both in our operations and our investment activities.“ In particular, the

press release provided as follows:

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American lnternational Group, lnc. (AIG) today reported that its net income for the
second quarter of 2007 was $4.28 billion or $1.64 per diluted share, compared to
$3. 19 billion or $1.21 per diluted share in the second quarter of 2006. Net income, as
reported, includes the effect of economically effective hedging activities that did not
qualify for hedge accounting treatment under FAS 133, including the related foreign
exchange gains and losses

Second quarter 2007 adjusted net income, as defined below, was a record
$4.63 billion or $1.77 per diluted share, compared to $4.16 billion or $1.58 per
diluted share in the second quarter of 2006.

Net income for the first six months of 2007 was $8.41 billion or $3.21 per
diluted share, compared to $6.39 billion or $2.43 per diluted share in the first six
months of 2006. Adjusted net income for the first six months of 2007 was $9.02
billion or $3.44 per diluted share, compared to $7.53 billion or $2.87 per diluted
share in the first six months of 2006.

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(a) Represents the effect of hedging activities that did not qualify for hedge
accounting treatment under FAS 133, including the related foreign exchange gains
and losses In the first quarter of 2007, AIG began applying hedge accounting for
certain transactions primarily in its Capital Markets operations In the second quarter
of 2007, AGF and ILFC began applying hedge accounting to most of their derivatives
hedging interest rate and foreign exchange risks associated with their floating rate
and foreign currency denominated borrowings The three and six months ended June
30, 2007 include out of period aner-tax charges of $280 million and $247 million,
respectively, including a $247 million aner-tax charge in both periods to reverse net
gains recognized on transfers of available for sale securities among legal entities
consolidated within AIGFP. The first six months of 2006 included an out of period
charge of $ l 45 million, net of tax, related to the remediation of the material weakness
in accounting for certain derivative transactions under FAS 133,

(b) Excludes net realized capital gains (losses), cumulative effect of an
accounting change and FAS 133, net of tax,

(c) Includes out of period increases of $123 million or $0.05 per diluted share
and $311 million or $0.12 per diluted share in the second quarter of 2007 and 2006,
respectively. See note (g) on page 11.

(d) Represents the cumulative effect of an accounting change, net of tax,
related to FAS 123R "Share-Based Payment".

(e) Includes out of period increases (decreases) of $(1 70) million or $(0.07)
per diluted share and $25 million or $0.01 per diluted share in the first six months of
2007 and 2006, respectively, See note (g) on page 11.

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At June 30, 2007, AIG's consolidated assets were $1.034 trillion and
shareholders' equity was $104.33 billion Book value per share increased to $40.44,
including a reduction of $0.90 per share related to payments advanced to repurchase
shares of $2.34 billion

During the second quarter of 2007, AIG repurchased 22,021,462 shares of its
common stock. An additional 24,501,510 shares were purchased through August 6,
2007, for a total of 48,993,471 shares purchased year to date

Commenting on the second quarter's results AIG President and Chief
Executive Officer Martin J. Sullivan said, "Overall, AlG performed very well in the
second quarter, Results were driven by solid growth in General lnsurance, Life
lnsurance & Retirement Services Asset Management and Capital Markets
Partnership returns remained strong, positively affecting investment income

"AIG's financial performance continues to reflect the competitive advantages
of our diverse, global operations With well positioned, market leading businesses
and a balance sheet that now exceeds a trillion dollars in assets we continue to
successfully translate these strong attributes into specific strategies and positive
business results Management remains focused on expanding AIG's global reach,
recently receiving approval to establish a wholly owned general insurance subsidiary
in China, acquiring a mortgage finance company in lndia, and expanding our
business cooperation agreement with the Bank of Investment and Development of
Vietnam.

"Within the organization, we are also taking steps that will enhance future
performance The continuing development of our economic capital model is helping
us deploy capital more efficiently. Our Deliver the Firrn initiative to leverage AIG's
scale and scope is being embraced within the organization as a powerful means to
generate new business For instance, AIG Private Client Group and AIG Advisor
Group recently formed a strategic alliance to enhance AIG's ability to serve the high-
net-worth market by offering creative insurance solutions in addition to the broad
range of investment options currently available Additionally, worldwide recognition
of our brand is increasing quickly through AIG's corporate advertising and brand-
building sponsorships, including our sponsorship of Manchester United Football
Club. In fact, AIG recently made its first appearance on BusinessWeek's annual 'Top
100 Brands' survey. AIG ranked 47th on the list of the most valuable global brands
ahead of all insurance competitors with a brand value estimated at $7 .49 billion

"During the second quarter of 2007, AlG increased book value and generated
an adjusted return on equity of` 19.8 percent, while returning capital to shareholders
through share repurchases and increased dividends We remain focused on creating
long-term opportunities to grow at attractive rates of return and, ultimately, driving
even greater shareholder value

"We continue to be very comfortable with our exposure to the U.S. residential
mortgage market, both in our operations and our investment activities However, in
recognition of the significant investor interest in this topic, we will provide a

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presentation during our earnings call, which wi11 be available in the investor
information section of AIG's website tomorrow morning at 7:30 a.m."

GENERAL lNSURANCE

General lnsurance second quarter 2007 operating income before net realized
capital gains (losses) increased 1.7 percent to $3.04 billion compared to the second
quarter of 2006, or 18.9 percent excluding the $432 million second quarter 2006 pre-
tax increase in income relating to the out of period adjustment from unit investment
trust accounting The second quarter 2007 combined ratio was 87.12, compared to
86.47 in the second quarter of 2006, Second quarter 2007 General lnsurance net
investment income reflects higher levels of invested assets and increased partnership
income compared to the second quarter of 2006,

Domestic Brokerage Group O)BG) second quarter 2007 operating income
was $1.98 billion, an increase of 30.4 percent compared to the second quarter of 2006
on strong growth in underwriting profit and net investment income Irnproved
underwriting results reflect favorable loss trends in recent accident years across most
lines of business Second quarter 2007 net premiums written declined slightly to
$6.44 billion compared to $6.48 billion in the second quarter of 2006, as DBG
maintained its underwriting discipline Strong growth in the commercial property,
commercial liability, and accident & health lines was offset by increasing
competition and rate declines in directors & officers excess casualty and workers'
compensation coverages

Personal Lines second quarter 2007 operating income was $120 million
compared to $117 million in the second quarter of 2006. Net premiums written
increased 1.9 percent compared to the second quarter of 2006, driven by continued
growth in the AIG Private Client Group, The second quarter 2007 combined ratio
improved to 94.50, primarily due to pricing and underwriting enhancements in AIG
Agency Auto, favorable loss trends and growth in the Private Client Group and solid
underwriting results in the direct business

Mortgage Guaranty reported an operating loss of 878 million in the second
quarter of 2007, compared to income of $l 10 million in the second quarter of 2006,
The continuing weakness in the U.S. housing market resulted in a significant increase
in losses for the domestic mortgage insurance business The domestic second-lien
business was the primary contributor to the decline in operating income; however, the
domestic first-lien business also experienced an increase in incidence and severity of
losses incurred. Net premiums written increased 40.9 percent on strong growth in
international markets and higher renewal premiums on the domestic first-lien book of
business where persistency has increased compared to the second quarter of 2006.

Foreign General second quarter 2007 operating income declined 22.7 percent
to $849 million compared to the second quarter of 2006, but increased 23.8 percent
excluding the $412 million second quarter 2006 out of period adjustment for unit
investment trusts Second quarter 2007 operating income was negatively affected by
$68 million in catastrophe-related losses from the U.K. floods. Net premiums written

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increased 9.4 percent in original currency compared to the second quarter of 2006,
with consumer lines in Latin America, Europe and the Far East as well as commercial
lines in Europe and the U.K. contributing to the increase

At June 30, 2007, General lnsurance net loss and loss adjustment reserves
totaled $65.20 billion, a $1.16 billion increase from March 31, 2007, For the second
quarter of 2007, net loss development from prior accident years excluding accretion
of discount was favorable by approximately $120 million The overall favorable
development consisted of approximately $475 million of favorable development
from accident years 2003 through 2006, partially offset by approximately $355
million of adverse development from accident years 2002 and prior.

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FINANCIAL SERVICES

Second quarter 2007 Financial Services operating income, before net realized
capital gains (losses) and the effect of economically effective hedging activities that
did not qualify for hedge accounting treatment under FAS 133, was $512 million, a
decline of 16.5 percent compared to the second quarter of 2006,

Aircran Leasing operating income was $ 190 million in the second quarter of
2007, compared to 3189 million in the second quarter of 2006. Strong lease rates and
continued growth in the ILFC lease portfolio were partially offset by the increase in
interest expense and lower flight equipment remarketing compared to the second
quarter of 2006,

Capital Markets operating income increased 29.4 percent as AIG Financial
Products Corp. experienced increased transaction flow in its equity, credit and
currency products compared to the second quarter of 2006,

Second quarter 2007 Consumer Finance operating income was $58 million
compared to $ 199 million in the second quarter of 2006. Second quarter 2007 results
include the previously announced $50 million charge related to the estimated cost of
implementing the financial remediation plan, pursuant to the terms of the Supervisory
Agreement reached by AIG's domestic consumer finance operations with the Office
of Thrin Supervision. This is in addition to the $128 million charge in the first
quarter of 2007. American General Finance, Inc. operating income was also adversely
affected by lower real estate production volumes and margin compression compared
to the prior year. While charge-off and delinquency ratios increased primarily due to
maturing of the portfolio, they remain stable and near historic lows.

Overseas, loan growth in Poland and Argentina nreled strong revenue
increases partially offset by sluggish results in Asia and higher expansion related
expenses

63. On August 9, 2007, AIG hosted an earnings conference call to discuss its second

quarter earnings and to clarify the Company's exposure to the subprime mortgage crisis During the
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call, defendant Sullivan reiterated his claim that the subprime market crisis was an "opportunity" for

the Company "despite the short-term pressures." Sullivan commented further:

Exposures to the residential mortgage-backed securities market within AIG's
insurance investment portfolios are of a high quality and enjoy substantial protection
through collateral subordination AIG does not need to trade mortgage-related
securities and does not depend on them for its liquidity needs

Temporary market disruptions may have some noneconomic effect on AIG
through unrealized losses. However, the sound credit quality of the portfolios should
result in collection of substantially all principal and interest under any reasonable
scenario.

AIG's Financial Products portfolio of super senior credit default swaps is well
structured; undergoes ongoing monitoring, modeling, and analysis; and enjoys
significant protection from collateral subordination Certainly, we will be following
this market closely during this period of volatility and correction, and we will `
continue to manage these risks carefully.

64. During the call, defendant Lewis commented that declines in the mortgage market
would have to reach "Depression proportions" before it negatively impacted AIG's portfolio. ln

particular, defendant Lewis stated the following:

AIG views such declines as temporary, as the robust cash flow characteristics
combined with the reasonably short maturity structure of most of these securities will
exert a very strong pull to par even if markets remain unstable. AIG views recent
pricing as indicative of market turmoil unrelated to the fundamental financial
characteristics of these securities

ln addition, we believe that it would take declines in housing values to reach

Depression proportions along with default frequencies never experienced, before
our AAA and AA investments would be impaired

AIG does not need to liquidate any investment securities in a chaotic market
due to its strong liquidity and cash flow as well as its superior financial strength lam
confident in our people and our risk management processes Our exposures to this
market are prudent, given the nature of our business and our financial strength. AlG
has the financial wherewithal and expertise to take advantage of opportunities as they
arise in the future.

In all the areas where we are active, we have strong risk management
processes undertaken by experienced professionals The risks we take are analyzed
based upon our own independent analyses modeling, and monitoring Risk
tolerances and appetites are formulated and implemented within authorities allocated

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by senior management; and ongoing review and analysis is undertaken both in the
businesses as well as at the corporate enterprise risk management level.

Although the market may continue to experience a period of adjustment and
volatility, our exposures are understood and well managed within an appropriate risk
tolerance for a strong world leader in lnsurance and Financial Services

65. On August 13, 2007, the Associated Press published an article titled "AlG Sees Small
Subprime Risk." The article quoted Janet Tavakoli, president of a Chicago research firm, who
criticized AIG's valuation models for its derivative insurance contracts written against financial
instruments that included subprime debt. ln particular she stated: "There's no way these aren't
showing a loss ...." Defendant Habayeb, who was also quoted in the article, countered by stating: "I
believe we come up with our best estimate of the fair value (of these instruments) based on all
information available to us and that's reflected in our financial statements."

THE TRUTH IS REVEALED

66. Then, on November 7, 2007, AIG issued a press release for its third fiscal quarter
2007 that revealed the true extent of the Company's exposure to the subprime mortgage market crisis
The press release reported that AIG's net income for the quarter was $3.09 billion_27% less than
what the Company earned during the same quarter in the prior year. These disappointing earnings
were driven by approximately $1.4 billion in losses in AIG's investment portfolio, credit-swap
portfolio and mortgage insurance business The investment portfolio lost $864 million; the credit-
swap portfolio lost $352 million; and AIG's mortgage-insurance business lost $215 million The

third quarter earnings press release provided as follows:

American lntemational Group, lnc. today reported that its net income for the third
quarter of 2007 was $3.09 billion or $1.19 per diluted share, compared to $4.22
billion or $1.61 per diluted share in the third quarter of 2006. Net income, as
reported, includes the effect of economically effective hedging activities that did not
qualify for hedge accounting treatment under FAS 133, including the related foreign
exchange gains and losses

Third quarter 2007 adjusted net income, as defined below, was $3.49 billion
or $1.35 per diluted share, compared to $4.02 billion or $1 .53 per diluted share in the
third quarter of 2006.

Included in both third quarter and nine months 2007 net income and adjusted
net income was a charge of approximately $352 million pretax ($229 million aner

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tax) for a net unrealized market valuation loss related to AIG Financial Product
Corp.'s (AIGFP) super senior credit default swap portfolio. AIG continues to believe

that it is highly unlikely that AIGFP will be required to make payments with respect
to these derivatives

Net income for the first nine months of 2007 was $l 1.49 billion or $4.40 per
diluted share, compared to $10.61 billion or $4.04 per diluted share in the first nine
months of 2006. Adjusted net income for the first nine months of 2007 was $12.51
billion or $4.79 per diluted share, compared to $11.55 billion or $4.40 per diluted
share in the first nine months of 2006,

***

At September 30, 2007, AIG's consolidated assets were $1.072 trillion and
shareholders' equity was $104.07 billion Shareholders' equity declined slightly
compared to June 30, 2007, primarily as a result of net income offset by share
repurchase activity and $2.45 billion aner tax in unrealized depreciation of
investments reported in Other Comprehensive Income.

Book value per share increased to $40.81, including a reduction of $0.50 per
share related to payments of $1.27 billion advanced to repurchase shares

During the third quarter of 2007 , AIG repurchased 30,611,884 shares of its
common stock. An additional 13,964,098 shares were purchased through November
5, 2007 , for a total of 69,067,943 shares purchased year to date

Commenting on the third quarter's results AIG President and ChiefExecutive
Officer Martin J. Sullivan said, "In a volatile market environment that challenged
many financial institutions AIG reported adjusted net income of $3 .49 billion in the
third quarter of 2007 and increased book value per share to $40.81, once again
confirming the benefits of our diversified portfolio of global businesses While U.S.
residential mortgage and credit market conditions adversely affected our results our
active and strong risk management processes helped contain the exposure Our
balance sheet remains strong with the financial resources to weather continued

uncertainty as well as to take advantage of attractive market opportunities as they
emerge

"Domestic Brokerage Group, Aircran Leasing and Asset Management
reported strong operating income growth. Life lnsurance & Retirement Services
operating income declined as market volatility adversely affected investment returns
of certain asset classes and our businesses in the Japan and U.S. markets faced
challenging market conditions However, we experienced strong life insurance
production in Asia, improved universal life and variable universal life sales in the
Domestic Life operations and improved deposits for group retirement products and
individual variable annuities in Domestic Retirement Services

“Our Mortgage Guaranty business reported an operating loss in the quarter
resulting from the continued deterioration in the U.S. housing market, American

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General Finance's adherence to disciplined underwriting standards has helped
maintain the credit quality of its real estate portfolio. AIGFP reported an operating
loss in the quarter due principally to the unrealized market valuation loss related to its
super senior credit default swap portfolio. Although GAAP requires that AIG
recognize changes in valuation for these derivatives AIG continues to believe that it

is highly unlikely that AIGFP will be required to make any payments with respect to
these derivatives

"During the quarter we recorded pretax net realized capital losses of $864
million on a total cash and invested asset portfolio of $872.3 billion Within the net
realized capital losses are $529 million of charges for other-than-temporary declines
in value, including impairments of approximately $149 million related to AIG's
residential mortgage-backed securities portfolio. Despite the volatility of the recent
quarter, AIG's exposure to the residential mortgage-backed securities market within
the investment portfolios remains high quality and with substantial protection
through collateral subordination

"Overall, our diverse global businesses are well positioned to respond to both
challenges and opportunities We continue to manage risks carentlly and remain
confident in our long term strategies to build shareholder value.“

GENERAL lNSURANCE

General lnsurance third quarter 2007 operating income before net realized
capital gains (losses) declined 3.4 percent to $2.51 billion compared to the third
quarter of 2006, Irnproved underwriting results in the Domestic Brokerage Group
were offset by a $215 million operating loss in the Mortgage Guaranty business and
declines in operating income in the Personal Lines and Foreign General businesses
The third quarter 2007 combined ratio was 90.17, compared to 89.10 in the third
quarter of 2006, Third quarter 2007 General lnsurance net investment income
increased 1.8 percent compared to the third quarter of 2006, which included $213
million of income for an out of period adjustment for unit investment trusts and
partnership income

Domestic Brokerage Group (DBG) third quarter 2007 operating income was
$1.89 billion, an increase of 24.5 percent compared to the third quarter of 2006,
Irnproved underwriting results reflect favorable loss trends in recent accident years
across most lines of business Third quarter 2007 net premiums written declined
slightly to $6.01 billion compared to $6.07 billion in the third quarter of 2006 as
DBG maintained underwriting discipline in a competitive market Premium growth
in risk management accident & health and program business offset the effects of
increasing competition and rate declines in property and most casualty lines

Personal Lines third quarter 2007 operating income was $28 million
compared to $133 million in the third quarter of 2006. The decline in operating
income was due primarily to unfavorable loss reserve development in prior accident
years from discontinued businesses together with transaction and integration costs
related to the acquisition of the minority interest in 2lst Century lnsurance Group,

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Net premiums written increased 7.8 percent compared to the third quarter of 2006,
the result of continued growth in the AIG Private Client Group and stronger growth
in Agency Auto and aigdirect.com, our newly combined direct auto business

United Guaranty Corporation reported an operating loss of $21 5 million in the
third quarter of 2007, compared to income of $85 million in the third quarter of 2006,
due to unfavorable loss experience as a result of the continued deterioration of the
U.S. housing market Third quarter 2007 net premiums Written increased 30.6 percent
compared to the third quarter of 2006, reflecting higher international premiums from
strong growth in Europe, Canada and Australia.

Foreign General third quarter 2007 operating income declined 12.4 percent to
$631 million compared to the third quarter of 2006, largely due to lower favorable
loss development in prior accident years additional losses from the June 2007 U.K.
floods and an increase in severe but non-catastrophic losses Net premiums Written
increased 11.0 percent in original currency compared to the third quarter of 2006,
with consumer lines in Latin America, Asia and Europe, as well as commercial lines
in Europe and the U.K., contributing to the increase

At September 30, 2007, General lnsurance net loss and loss adjustment
reserves totaled $66.94 billion, a $1.74 billion increase from June 30, 2007, For the
third quarter of 2007, net loss development from prior accident years excluding
accretion of discount was favorable by approximately $337 million The overall
favorable development consisted of approximately $764 million of favorable
development from accident years 2004 through 2006, partially offset by adverse
development from earlier prior accident years

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FINANCIAL SERVICES

Third quarter 2007 Financial Services operating income, before net realized
capital gains (losses) and the effect of economically effective hedging activities that
did not qualify for hedge accounting treatment under FAS 133, was $307 million, a
decline of 46.3 percent compared to the third quarter of 2006,

Aircran Leasing operating income was $269 million in the third quarter of
2007, compared to $157 million in the third quarter of 2006, Results were driven by
lLFC's larger aircran fleet higher lease rates higher utilization and income from the
sale of aircran assets

Capital Markets reported a $5 8 million operating loss in the third quarter of
2007, primarily due to a $352 million unrealized market valuation loss related to the
AIGFP's super senior credit default swap portfolio and a $51 million out of period
charge related to a series of lease transactions These items offset good transaction
flow in AIGFP's credit, interest rate, commodity and currency products and a $l31
million unrealized market valuation gain on the value of certain credit derivatives

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AIG estimates a further unrealized market valuation loss through October

2007 of approximately $550 million before tax for AlGFP's super senior credit
default swap portfolio.

Third quarter 2007 Consumer Finance operating income was $80 million
compared to $220 million in the third quarter of 2006. American General Finance,
lnc. operating income declined due to reduced origination volume and higher
warranty reserves in its mortgage banking operation as well as an increase in
allowance for loan losses AGF‘s adherence to disciplined underwriting standards has
helped maintain the credit quality of its real estate portfolio. C)ver the past quarter,
the portfolio experienced modest deterioration driven to a large extent by the
maturation of the assets and current market conditions Loan growth in Poland,
Thailand and Argentina was the primary driver of AIG Consumer Finance Group's
increased revenue compared to the third quarter of 2006. Operating income declined
due to higher expenses associated with branch expansions, acquisition activities and
product promotion campaigns

REASONS THE STATEMENTS WERE IMPROPER
67. AIG's Relevant Period statements failed to disclose and misrepresented the following
material adverse facts which the Individual Defendants knew, consciously disregarded, were
reckless and grossly negligent in not knowing or should have known:
(a) AIG's portfolios were more exposed to the subprime mortgage crisis than
what the Company had disclosed;
(b) AIG's mortgage insurance business was experiencing losses as a result of the
subprime mortgage crisis; and
(c) As a result of the foregoing, AIG's reported business prospects for its fiscal
year 2007 were inaccurate
THE IMPROPER BUYBACK
68. During February 2007 , the Board had authorized the repurchase of up to $8 billion of
the Company's shares Under the Board's authorization, while AIG's stock was artificially inflated
due to the improper statements described above, the Company bought back over $3.7 billion worth
of the Company's own shares at an average price of approximately $67.89 per share, which is
substantially higher than AIG's current share price of less than $60 per share and comparable to the
$70 per share the Insider Selling Defendants averaged in selling their own AIG stock holdings during

the Relevant Period. On information and belief`, in authorizing the buyback, the Board members

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failed to properly discuss and consider the Company's exposure to the subprime mortgage lending
crisis While AIG was repurchasing these shares the insider Selling Defendants made the sales

described herein

DAMAGES TO AIG CAUSED BY THE INDIVIDUAL DEFENDANTS
69. As a result of the lndividual Defendants' improprieties AIG disseminated improper

statements concerning its business prospects as alleged above These improper statements have

devastated AIG's credibility as reflected by the Company's $30 billion market capitalization loss
70. Further, as a direct and proximate result of the lndividual Defendants' action, AIG has

expended and will continue to expend significant sums ofmoney. Such expenditures include, but are

not limited to:

(a) Costs incurred from compensation and benefits paid to the defendants who

have breached their duties to AIG; and

(b) Costs incurred from the $3.7 billion that AIG spent repurchasing its own
inflated stock.

71. Moreover, these actions have irreparably damaged AIG's corporate image and
goodwill. For at least the foreseeable future, AIG will suffer from what is known as the "liar's
discount," a term applied to the stocks of companies who have been implicated in illegal behavior
and have misled the investing public, such that AIG's ability to raise equity capital or debt on
favorable terms in the future is now impaired.

INSIDER SELLING

72. The Insider Selling Defendants, because of their positions knew that the statements
the Company publicly made were incorrect They also knew that the misstatements would create an
inflated stock price The Insider Selling Defendants took advantage of this undisclosed information
to sell their personally held stock for considerably more than they were worth. Therefore, while in
possession of undisclosed material adverse information the lnsider Selling Defendants sold the

following shares of AIG's stock:

 

lnsider Last Name Transaction Date Shares Price Proceeds
COHEN 11/28/2006 10,093 $70.50 $711,556.50

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10,093 $711,556.50
NEUGER 1 1/30/2006 92 $70.45 $6,481.40
1 1/30/2006 1,400 $70.43 $98,602.00
11/30/2006 100 $70.41 $7,041.00
1 1/30/2006 4,400 $70.40 $309,760.00
1 1/30/2006 1,400 $70.39 $98,546.00
1 1/30/2006 1 ,100 $70.38 $77,418.00
1 1/30/2006 100 $70.37 $7,037.00
1 1/30/2006 900 $70.36 $63,324.00
1 1/30/2006 14,400 $70.46 $1,014,624.00
1 1/30/2006 3,900 $70.45 $274,755.00
1 1/30/2006 300 $70.44 $21 ,132.00
11/30/2006 500 $70.43 $35,215.00
11/30/2006 1,300 $70.42 $91,546.00
1 1/30/2006 600 $70.41 $42,246.00
1 1/30/2006 5,000 $70.40 $352,000.00
11/30/2006 ' 100 $70.39 $7,039.00
11/30/2006 400 $70.36 $28,144.00
1 1/30/2006 1 ,200 $70.35 $84,420.00
1 1/30/2006 700 $70.34 $49,238.00
1 1/30/2006 2,100 $70.33 $147,693.00
11/30/2006 3,500 $70.32 $246,120.00
11/30/2006 2,600 $70.31 $182,806.00
11/30/2006 5,800 $70.30 $407,740.00
1 1/30/2006 700 $70.29 $49,203.00
1 1/30/2006 700 $70.28 $49,196.00
1 1/30/2006 2,500 $70.27 $175,675.00
1 1/30/2006 1,000 $70.26 $70,260.00
11/30/2006 400 $70.25 $28,100.00
11/30/2006 1,631 $70.24 $114,561.44
1 1/30/2006 669 $70.23 $46,983.87
59,492 $4,186,906.71
SCHRE|BER 3/5/2007 3,500 $69.45 $243,075.00
3,500 $243,075.00
WlSNER 5/14/2007 14,062 $72.43 $1,018,510.66
5/14/2007 2,812 $72.43 $203,673.16
16,874 $1,222,183.82
TOTAL 89,959 $6,363,722.03

 

 

 

 

 

DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

 

73. Plaintiff brings this action derivatively in the right and for the benefit of AIG to

redress injuries suffered, and to be suffered, by AIG as a direct result of breaches of fiduciary duty,
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waste of corporate assets unjust enrichment and violations of the Exchange Act as well as the
aiding and abetting thereof, by the lndividual Defendants AIG is named as a nominal defendant
solely in a derivative capacity. This is not a collusive action to confer jurisdiction on this Court that
it would not otherwise have

74. Plaintiff will adequately and fairly represent the interests of AIG in enforcing and
prosecuting its rights

75. Plaintiff is and was an owner of the stock of AIG during times relevant to the
Individual Defendants' wrongful course of conduct alleged herein, and remains a shareholder of the
Company.

76. The current Board of AIG consists of the following fineen individuals: defendants
Sullivan, Tse, Cohen, Feldstein, Futter, Hammennan, Holbrooke, Langhammer, Miles, Offit, Orr,
Rometty, Sutton, Willumstad and Zarb.

7 7. Defendants Sullivan, Tse, Cohen, Feldstein, Futter, Hammennan, Holbrooke,
Langhammer, Miles, Offit, Orr, Rometty, Sutton, Willumstad and Zarb, as members of the Board
during February 2007, authorized a share repurchase program under which the Company repurchased
over $3.7 billion worth of its own shares at artificially inflated prices The Board's decision to
authorize the repurchase program was not the product of valid business judgment Among other
things the Board failed to properly discuss or consider the negative effects that the subprime
mortgage crisis would have on the Company's business prospects Further, defendant Cohen
engaged in self-dealing in that he sold his personally held shares while directing the Company to buy
shares Accordingly, demand is futile

7 8. Defendants Miles, Offit and Sutton were, during the Relevant Period, members of the
Audit Committee The Committee's charter provides that the Committee is responsible for reviewing
and discussing earnings press releases and financial information and earnings guidance provided to
analysts and rating agencies Thus, the Audit Committee was responsible for overseeing and directly
participating in the dissemination of AIG's earnings press releases Accordingly, defendants Miles,

Offit and Sutton breached their fiduciary duties of due care, loyalty, and good faith because the Audit

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Committee participated in the preparation of improper statements and earnings press releases that
contained improper material information Particularly, these defendants reviewed and failed to
correct AIG's improper earnings press releases described above Thus, Miles, Offit and Sutton face a
sufficiently substantial likelihood of liability for their breach of fiduciary duties so any demand upon
them is futile

79. The principal professional occupation of defendant Sullivan is his employment with
AIG, pursuant to which he received and continues to receive substantial monetary compensation and

other benefits Specifically, AIG paid Sullivan the following compensation:

Changes in
Pension Va|ue
and
Nonqua|ified
Restricted Non-Equity Deferred
Fisca| Stock Option lncentive Plan Compensation AllOther
Year Sa|ary Bonus Awards Awards Compensation Earnings Compensation
2006 $1,000,000 $10,125,000 $1,370,657 $1,916,232 $5,838,656 $275,701 $703,432

Accordingly, Sullivan lacks independence from defendants Cohen, Langhammer, Orr and Rometty,
who are not disinterested and/or independent and who exert influence over Sullivan's compensation
by virtue of their positions as members of the Compensation and Management Resources
Committee The Compensation and Management Resources Committee has the authority to review
and approve Sullivan's base salary, bonus and equity compensation This lack of independence
rendered defendant Sullivan incapable of impartially considering a demand to commence and
vigorously prosecute this action

80. The principal professional occupation of defendant Tse is his employment with AIG,
pursuant to which he received and continues to receive substantial monetary compensation and other

benefits Specifically, AIG paid Tse the following compensation:

Restricted Non-Equity
Fiscal Stock Option lncentive Plan Al| Other
¥ear Sa|ary Bonus Awards Awards Compensation Compensation
2006 $849,729 $1,838,455 $3,729,295 $3,354,527 $5,860,619 $193,060

Accordingly, Tse lacks independence from defendants Cohen, Langhammer, Orr and Rometty, who

are not disinterested and/or independent and who exert influence over Tse's compensation by virtue

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of their positions as members of the Compensation and Management Resources Committee The
Compensation and Management Resources Committee has the authority to review and approve Tse's
base salary, bonus and equity compensation This lack of independence rendered defendant Tse
incapable of impartially considering a demand to commence and vigorously prosecute this action,

81. As a result of defendant Cohen's access to and review of internal corporate
documents conversations and connections with other corporate officers employees and directors
and attendance at management and Board meetings he knew the adverse non-public information
regarding AIG's true business prospects While in possession of this material adverse non-public
information regarding the Company, Cohen sold 10,093 shares of AlG stock for proceeds of
$711,556.50. Because defendant Cohen received a personal financial benefit from the challenged
insider trading transaction, he is interested, Moreover, defendant Cohen faces a sufficiently
substantial threat of liability for breach of his fiduciary duties for insider selling Since defendant
Cohen breached his fiduciary duties and is interested, any demand upon him is firtile.

82. Each of the key officers and directors knew of and/or directly benefited from the
wrongdoing complained of herein

83. The Director Defendants of AIG, as more fully detailed herein, participated in,
approved and/or permitted the wrongs alleged herein to have occurred and participated in efforts to
conceal or disguise those wrongs from AIG's stockholders or recklessly and/ or negligently
disregarded the wrongs complained of herein and are therefore not disinterested parties

84. The acts complained of constitute violations of the Exchange Act and violations of
fiduciary duties owed by AIG's officers and directors and these acts are incapable of ratification

85. Each of the Director Defendants of AIG authorized and/or permitted the false

statements disseminated directly to the public or made directly to securities analysts and which were

made available and distributed to shareholders authorized and/ or permitted the issuance of various
improper statements and are principal beneficiaries of the wrongdoing alleged herein, and thus could

not fairly and fully prosecute such a suit even if such suit was instituted by them.

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86. Moreover, despite the lndividual Defendants having knowledge of the claims and
causes of action raised by plaintiff, the current Board has failed and refused to seek recovery for AIG
for any of the wrongdoing alleged by plaintiff herein

87. Plaintiff has not made any demand on shareholders of AIG to institute this action
since such demand would be a futile and useless act for the following reasons:

(a) AIG is a publicly held company with over 2.5 billion shares outstanding and
thousands of shareholders

(b) Making demand on such a number of shareholders would be impossible for
plaintiff who has no way of finding out the names addresses or phone numbers of shareholders and

(c) Making demand on all shareholders would force plaintiff to incur huge
expenses assuming all shareholders could be individually identified

COUNT I

Derivatively Against the Director Defendants and Defendant Bensinger for Violation of
§10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder

88. Plaintiff incorporates by reference and realleges each and every allegation contained
above, as though fully set forth herein

89. During the Relevant Period, the Director Defendants and defendant Bensinger
disseminated or approved public statements that improperly portrayed AIG's business prospects
growth and margins The Director Defendants and defendant Bensinger knew or deliberately
disregarded that the Company's public statements concerning its business prospects were misleading

90. The lnsider Selling Defendants also sold over $6 million worth of shares of AIG's
common stock at inflated prices during the Relevant Period while in possession of material non-
public information These defendants misappropriated AIG's proprietary information and violated
their so-called "ab stain or disclose" duties under the federal securities laws when they sold AlG stock
without disclosing the information alleged to have been concealed herein

91. At the same time the price of the Company's common stock was inflated due to the
improper reporting of the value of AIG's business prospects especially concerning the Compaan
exposure to the subprime mortgage market crisis, and the lnsider Selling Defendants were selling

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stock into the market, the Director Defendants and defendant Bensinger were causing AlG to
repurchase over $3.7 billion worth of its own stock on the open market at an average inflated price of
approximately 367.89 per share, which is substantially higher than AIG's current share price of under
$60 per share

92. As such, the Director Defendants and defendant Bensinger violated §lO(b) of the
Exchange Act and Rule 10b-5 in that they:

(a) Employed devices schemes and artifices to defraud;

(b) Made untrue statements of material facts or omitted to state material facts
necessary in order to make the statements made, in light of the circumstances under which they were
made, not misleading; or

(c) Engaged in acts practices and a course of business that operated as a naud or
deceit upon AIG and others in connection with their purchases of AIG common stock during the
Relevant Period.

93. As a result of the Director Defendants' and defendant Bensinger's misconduct AIG
has and will suffer damages in that it paid artificially inflated prices for AIG common stock
purchased on the open market AIG would not have purchased AIG common stock at the prices it
paid, had the market previously been aware that the market price of AIG's stock was artificially and
falsely inflated by defendants' misleading statements As a direct and proximate result of these
defendants' wrongful conduct, AIG suffered damages in connection with its purchases of AIG
common stock during the Relevant Period. By reason of such conduct, the Director Defendants and
defendant Bensinger are liable to the Company pursuant to §lO(b) of the Exchange Act and SEC
Rule 10b-5 promulgated thereunder.

COUNT II

Derivatively Against Defendants Sullivan, Bensinger, Miles, Offit and Sutton for Violation
of §20(a) of the Exchange Act

94. Plaintiff incorporates by reference and realleges each and every allegation contained
above, as though fully set forth herein,
95. Defendant Sullivan, AIG's President and CEO, defendant Bensinger, AIG's CFO, and

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defendants Miles, Offit and Sutton, as members of the Audit Committee during the Relevant Period,
directly or indirectly controlled or induced the lndividual Defendants who violated §lO(b) of the
Exchange Act and Rule 10b-5 as alleged above

96. These defendants are jointly and severally liable to the same extent as the lndividual

Defendants under §20(a) of the Exchange Act These defendants did not act in good faith.

COUNT III
Against All Defendants for Breach of Fiduciary Duty

97 . Plaintiff incorporates by reference and realleges each and every allegation contained
above, as though fully set forth herein,

98. The lndividual Defendants owed and owe AIG fiduciary obligations By reason of
their fiduciary relationships the lndividual Defendants owed and owe AIG the highest obligation of
good faith, fair dealing, loyalty and due care

99. The lndividual Defendants and each of them, violated and breached their fiduciary
duties of care, loyalty, reasonable inquiry, oversight good faith and supervision

100. Each of the individual Defendants had actual or constructive knowledge that they had
caused the Company to improperly misrepresent the Company's business prospects and financial
results 'l`hese actions could not have been a good faith exercise of prudent business judgment to
protect and promote the Company's corporate interests

101. As a direct and proximate result of the Individual Defendants' failure to perform their
fiduciary obligations AIG has sustained significant damages As a result of the misconduct alleged
herein, the lndividual Defendants are liable to the Company.

102. Plaintiff, on behalf of AIG, has no adequate remedy at law.

COUNT IV

Against the Insider Selling Defendants for Breach of Fiduciary
Duties for Insider Selling and Misappropriation of Information

103. Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein

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104. At the time of the stock sales set forth herein, the lnsider Selling Defendants knew the
information described above, and sold AIG common stock on the basis of such information

105. The information described above was proprietary non-public information concerning
the Company's financial condition and future business prospects lt was a proprietary asset
belonging to the Company, which the lnsider Selling Defendants used for their own benefit when
they sold AIG common stock.

106. At the time of their stock sales, the lnsider Selling Defendants knew that the
Company's revenues were materially overstated. The lnsider Selling Defendants' sales of AIG
common stock while in possession and control of this material adverse non-public information was a
breach of their fiduciary duties of loyalty and good faith.

107. Since the use of the Company's proprietary information for their own gain constitutes
a breach of the lnsider Selling Defendants' fiduciary duties, theCompany is entitled to the imposition
of a constructive trust on any profits the lnsider Selling Defendants obtained thereby.

COUNT V
Against All Defendants for Waste of Corporate Assets

108. Plaintiff incorporates by reference and realleges each and every allegation contained
above, as though fully set forth herein,

109. As a result of the misconduct described above, and by failing to properly consider the
interests of the Company and its public shareholders by failing to conduct proper supervision, paying
$3.7 billion to repurchase the Company' stock, paying bonuses to certain of its executive officers and
incurring potentially hundreds of millions of dollars of legal liability and/or legal costs to defend
defendants' unlawful actions.

1 10. As a result of the waste of corporate assets, the lndividual Defendants are liable to the
Company.

111. Plaintiff, on behalf of AIG, has no adequate remedy at law.

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COUNT Vl

Against All Defendants for Unjust Enrichment

l 12. Plaintiff incorporates by reference and realleges each and every allegation set forth
above, as though fully set forth herein.

113. By their wrongful acts and omissions, the lndividual Defendants were unjustly
enriched at the expense of and to the detriment of AIG.

114. Plaintiff, as a shareholder and representative of AIG, seeks restitution from these
defendants, and each of them, and seeks an order of this Court disgorging all profits, benefits and
other compensation obtained by these defendants, and each of them, from their wrongful conduct and

fiduciary breaches

PRAYER FOR RELIEF
WI-IEREFORE, plaintiff demands judgment as follows:

A. Against all of the Individual Defendants and in favor of the Company for the amount
of damages sustained by the Company as a result of the Individual Defendants' breaches of fiduciary
duties, waste of corporate assets and unjust enrichment;

B. Declaring that the Director Defendants and defendant Bensinger are liable under of
§lO(b) of the Exchange Act and Rule 10b-5 promulgated thereunder and that defendants Sullivan,
Bensinger, Miles, Offit and Sutton are jointly and severally liable under §20(a) of the Exchange Act
and awarding AIG damages;

C. Directing AIG to take all necessary actions to reform and improve its corporate
governance and internal procedures to comply with applicable laws and to protect AIG and its
shareholders from a repeat of the damaging events described herein, including, but not limited to,
putting forward for shareholder vote resolutions for amendments to the Company's By-Laws or

Articles of Incorporation and taking such other action as may be necessary to place before

shareholders for a vote the following Corporate Governance Policies:
l. a proposal to strengthen the Board's supervision of operations and develop and

implement procedures for greater shareholder input into the policies and guidelines of the Board;

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2. a provision to permit the shareholders of AIG to nominate at least three
candidates for election to the Board;
3. a proposal to ensure the accuracy of the qualifications of AIG's directors
executives and other employees
4. a proposal to control insider selling;
5. a proposal to ensure that AIG prudently expends funds in stock repurchase
programs; and
6. appropriately test and then strengthen the internal audit and control functions
D. Extraordinary equitable and/or injunctive relief as permitted by law, equity and state
statutory provisions sued hereunder, including attaching, impounding, imposing a constructive trust
on or otherwise restricting defendants' assets so as to assure that plaintiff on behalf of AIG has an
effective remedy;
E. Awarding to AIG restitution from the defendants and each of them, and ordering
disgorgement of all profits benefits and other compensation obtained by the defendants
F. Awarding to plaintiff the costs and disbursements of the action, including reasonable

attomeys' fees accountants' and experts' fees costs and expenses; and

G. Granting such other and further relief as the Court deems just and proper.
JURY DEMAND

Plaintiff demands a trial by j ury.

DATED: November 19, 2007 LAW OFFICES OF THOMAS G. AMON
THOMAS G. AMON

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THOMAS G. AMON (TGA-l$ 15)

 

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Attomeys for Plaintiff

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Dcrivative Complaim and know the contents thereof The Complaim' is true and correct to the best
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l declare under penalty of perjury that the foregoing is true and corrch

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